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 9                            UNITED STATES DISTRICT COURT
10                          SOUTHERN DISTRICT OF CALIFORNIA
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12   VIRGINIA DUNCAN, et al.,                          Case No.: 17-cv-1017-BEN (JLB)
13                       Plaintiffs,
                                                       DECISION
14   v.
15   ROB BONTA, in his capacity as Attorney
     General of the State of California,
16
                         Defendant.
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18
           We begin at the end. California’s ban and mandatory dispossession of firearm
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     magazines holding more than 10 rounds (California Penal Code § 32310(c) and (d)), as
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     amended by Proposition 63, was preliminarily enjoined in 2017.1 That decision was
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     affirmed on appeal. 2 In 2019, summary judgment was granted in favor of Plaintiffs and
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     § 32310 in its entirety was judged to be unconstitutional. 3 Initially, that decision was also
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       Duncan v. Becerra, 265 F. Supp. 3d 1106, 1138 (S.D. Cal. 2017).
     2
       Duncan v. Becerra, 742 F. App’x 218, 221 (9th Cir. 2018).
28   3
       Duncan v. Becerra, 366 F. Supp. 3d 1131, 1133 (S.D. Cal. 2019).
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 1   affirmed on appeal. 4 However, the decision was re-heard and reversed by the court of
 2   appeals en banc. 5 In 2022, the United States Supreme Court granted certiorari, vacated
 3   the appellate en banc decision, and remanded the case.6 The court of appeals, in turn,
 4   remanded the case to this Court “for further proceedings consistent with New York State
 5   Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022).”7 All relevant findings of fact
 6   and conclusions of law set forth in the prior decision concluding § 32310 is
 7   unconstitutional are incorporated herein.
 8   I.    INTRODUCTION
 9         “There is a long tradition of widespread lawful gun ownership by private
10   individuals in this country,” according to the United States Supreme Court. 8 Americans
11   have an individual right to keep and bear firearms. 9 The Second Amendment to the
12   United States Constitution “guarantee[s] the individual right to possess and carry
13   weapons in case of confrontation.”10 This guarantee is fully binding on the States and
14   limits their ability to devise solutions to social problems.11 And the guarantee protects
15   “the possession of weapons that are ‘in common use,’”12 or arms that are “typically
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       Duncan v. Becerra, 970 F.3d 1133, 1147 (9th Cir. 2020), reh’g en banc granted,
20   opinion vacated, 988 F.3d 1209 (9th Cir. 2021).
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     5
       Duncan v. Bonta, 19 F.4th 1087 (9th Cir. 2021) (en banc).
     6
       Duncan v. Bonta, 142 S. Ct. 2895 (2022).
22   7
       Duncan v. Bonta, 49 F.4th 1228, 1231 (9th Cir. 2022).
23
     8
       Staples v. United States, 511 U.S. 600, 610 (1994).
     9
       District of Columbia v. Heller, 554 U.S. 570, 630 (1980).
24   10
        Id. at 606 (quoting 2 Tucker’s Blackstone 143) (“This may be considered as the true
25   palladium of liberty …. The right to self defence is the first law of nature: in most
     governments it has been the study of rulers to confine the right within the narrowest
26   limits possible.”).
27
     11
        McDonald v. City of Chicago, Illinois, 561 U.S. 742, 785 (2010) (emphasis in
     original).
28   12
        New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2128 (2022).
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 1   possessed by law-abiding citizens for lawful purposes.”13 These are the decisions this
 2   Court is bound to apply. “It’s our duty as judges to interpret the Constitution based on
 3   the text and original understanding of the relevant provision—not on public policy
 4   considerations, or worse, fear of public opprobrium or criticism from the political
 5   branches.”14
 6         This case is about a California state law that makes it a crime to keep and bear
 7   common firearm magazines typically possessed for lawful purposes. Based on the text,
 8   history, and tradition of the Second Amendment, this law is clearly unconstitutional.
 9         The detachable firearm magazine solved a problem with historic firearms: running
10   out of ammunition and having to slowly reload a gun.15 When more ammunition is
11   needed in case of confrontation, a larger the magazine is required. Many gun owners
12   want to have ready more than 10 rounds in their guns. As a result, in the realm of
13   firearms, magazines that hold more than 10 rounds are possibly the most commonly
14   owned thing in America. These larger magazines number over one hundred million. For
15   handguns, the most popular sizes range up to 17 rounds; the most popular size for rifles is
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20   13
        Caetano v. Massachusetts, 577 U.S. 411, 416 (Alito and Thomas concurring) (quoting
21   Heller, 554 U.S. at 625, in turn quoting United States v. Miller, 307 U.S. 174, 179
     (1939)) (“We therefore read Miller to say only that the Second Amendment does not
22   protect those weapons not typically possessed by law-abiding citizens for lawful
23   purposes.”
     14
        United States v. Rahimi, 61 F.4th 443, 462 (5th Cir. 2023) (Ho, J., concurring)
24   (citations omitted).
25
     15
        United States v. Gonzalez, 792 F. 3d. 534, 536–37 (5th Cir. 2015) (“The problem of
     limited ammunition capacity has plagued rifles since their invention centuries ago. The
26   earliest rifles fired a single shot, leaving the user vulnerable during reloading. Numerous
27   inventions have sought to eliminate this problem. But from repeating rifles to clips, none
     has proved as effective as the magazine.”) (citing David B. Kopel, The History of
28   Firearm Magazines and Magazine Prohibitions, 78 ALB. L. R. 849 (2015)).
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 1   30 rounds. Yet, regardless of the overwhelming popularity of larger magazines,
 2   California continues to prohibit any magazine capable of holding more than 10 rounds.16
 3         There is no American tradition of limiting ammunition capacity and the 10-round
 4   limit has no historical pedigree and it is arbitrary and capricious. It is extreme. Our
 5   federal government and most states impose no limits 17 and in the states where limits are
 6   imposed, there is no consensus. Delaware landed on a 17-round magazine limit.18
 7   Illinois and Vermont picked limits of 15 rounds for handguns and 10 rounds for a rifles. 19
 8   Colorado went with a 15-round limit for handguns and rifles, and a 28-inch tube limit for
 9   shotguns.20 New York tried its luck at a 7-round limit; that did not work out. 21 New
10   Jersey started with a 15-round limit and then reduced the limit to 10-rounds.22 The fact
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     16
        See Cal. Penal Code § 32310 and § 16740. The term “large-capacity magazine” is
14   defined in California Penal Code § 16740 as “any ammunition feeding device with the
15   capacity to accept more than 10 rounds,” but excludes: (a) a “feeding device that has been
     permanently altered so that it cannot accommodate more than 10 rounds,” (b) a “.22
16   caliber tube ammunition feeding device,” and (c) a “tubular magazine that is contained in
17   a lever-action firearm.”
     17
        Federal law imposes only a sentencing enhancement. United States Sentencing
18   Guideline § 2K2.1(a)(4)(B) increases the base offense level for a violation of 18 U.S.C. §
19   922(g)(1) (felon in possession) when the offense involves a firearm with an attached
     magazine larger than 15 rounds. United States v. Lucas, No. 22-50064, 2023 U.S. App.
20   LEXIS 14768, at *7 (9th Cir. June 14, 2023).
21
     18
        Del. State Sportsmen’s Ass’n, Inc. v. Del. Dep’t of Safety & Homeland Sec., Civil
     Action No. 22-951-RGA, 2023 U.S. Dist. LEXIS 51322, at *4 (D. Del. Mar. 27, 2023)
22   (“‘Large-capacity magazine[s]’ are those ‘capable of accepting, or that can readily be
23   converted to hold, more than 17 rounds of ammunition.’”).
     19
        720 ILCS 5/24-1.10(a); Vt. Stat. Ann. tit. 13, § 4021.
24   20
        Colo. Rev. Stat. Ann. § 18-12-301.
25
     21
        The 7-round limit was found to be unconstitutional. N.Y. State Rifle & Pistol Ass’n v.
     Cuomo, 804 F.3d 242, 269 (2d Cir. 2015).
26   22
        “New Jersey once imposed a fifteen-round limit on magazine capacity. Now it claims
27   a lower limit of ten is essential for public safety. The Second Amendment demands more
     than back-of-the-envelope math.” Ass’n of N.J. Rifle & Pistol Clubs Inc. v. AG N.J., 974
28   F.3d 237, 260 (3d Cir. 2020) (Matey, J. dissenting).
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 1   that there are so many different numerical limits demonstrates the arbitrary nature of
 2   magazine capacity limits.
 3          In a stealth return to the interest balancing test rejected by Heller and Bruen, the
 4   State ostensibly justifies its magazine limits by deeming the smaller magazines “well-
 5   suited” for its citizens. 23 Suitability, in turn, is based on concocted statistics about what a
 6   hypothetical average person needs to defend against an attacker or attackers in an average
 7   self-defense situation. Based on this hypothetical statistically average case scenario, the
 8   State permits its citizen to have a gun, but the State decides the number of rounds in the
 9   gun that it finds suitable.24
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        At least a dozen times in its briefing before this Court, the State of California insists
12   magazines larger than 10 rounds are unsuitable. Here are some examples. “[T]he
13   Attorney General has demonstrated that LCMs are not necessary or even suitable to
     engage in private self-defense.” Dkt. 145, at 9. “Nor are LCMs particularly suitable for
14   self-defense.” Dkt. 142, at 8. “[T]he accessory at issue here (an LCM) is not well-suited
15   for lawful self-defense.” Id.
     24
        And be grateful for 10 rounds. Duncan, 19 F.4th at 1168 n.10, cert. granted, judgment
16   vacated, 142 S. Ct. 2895 (2022), and vacated and remanded, 49 F.4th 1228 (9th Cir.
17   2022) (Bumatay, J., dissenting) (“California currently allows more than 2.2 rounds in a
     magazine, and does not prohibit carrying multiple magazines. But don’t be fooled.
18   Under the majority’s Version 2.2 of the Second Amendment, there is no reason a state
19   couldn’t limit its citizens to carrying a (generous) 3 rounds total for self-defense.”).
            As this Court explained in its prior decision, “[a]rtificial limits will eventually lead
20   to disarmament. It is an insidious plan to disarm the populace and it depends on for its
21   success a subjective standard of ‘necessary’ lethality. It does not take the imagination of
     Jules Verne to predict that if all magazines over 10 rounds are somehow eliminated from
22   California, the next mass shooting will be accomplished with guns holding only 10
23   rounds. To reduce gun violence, the state will close the newly christened 10-round
     ‘loophole’ and use it as a justification to outlaw magazines holding more than 7 rounds.
24   The legislature will determine that no more than 7 rounds are ‘necessary.’ Then the next
25   mass shooting will be accomplished with guns holding 7 rounds. To reduce the new gun
     violence, the state will close the 7-round ‘loophole’ and outlaw magazines holding more
26   than 5 rounds determining that no more than 5 rounds are ‘suitable.’ And so it goes, until
27   the only lawful firearm law-abiding responsible citizens will be permitted to possess is a
     single-shot handgun. Or perhaps, one gun, but no ammunition. Or ammunition issued
28   only to persons deemed trustworthy.” Duncan, 366 F. Supp. 3d at 1146 n.33.
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 1         In so doing, the State denies a citizen the federal constitutional right to use
 2   common weapons of their own choosing for self-defense. There have been, and there
 3   will be, times where many more than 10 rounds are needed to stop attackers.25 Yet,
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     25
        Some have wishfully believed “there is no evidence that anyone ever has been unable
 6   to defend his or her home and family due to the lack of a large-capacity magazine,” or
 7   that more than 10 rounds is ever needed. But there is actually the evidence to support
     this. In fact, the State’s own expert reports otherwise.
 8           See Duncan, 366 F. Supp. 3d at 1134 (“As two masked and armed men broke in,
 9   Susan Gonzalez was shot in the chest. She made it back to her bedroom and found her
     husband’s .22 caliber pistol. Wasting the first rounds on warning shots, she then emptied
10   the single pistol at one attacker. Unfortunately, now out of ammunition, she was shot
11   again by the other armed attacker. She was not able to re-load or use a second gun. Both
     she and her husband were shot twice. Forty-two bullets in all were fired. The gunman
12   fled from the house—but returned. He put his gun to Susan Gonzalez’s head and
13   demanded the keys to the couple’s truck.
             When three armed intruders carrying what look like semi-automatic pistols broke
14   into the home of a single woman at 3:44 a.m., she dialed 911. No answer. Feng Zhu
15   Chen, dressed in pajamas, held a phone in one hand and took up her pistol in the other
     and began shooting. She fired numerous shots. She had no place to carry an extra
16   magazine and no way to reload because her left hand held the phone with which she was
17   still trying to call 911. After the shooting was over and two of the armed suspects got
     away and one lay dead, she did get through to the police. The home security camera
18   video is dramatic.
19           A mother, Melinda Herman, and her nine-year-old twins were at home when an
     intruder broke in. She and her twins retreated to an upstairs crawl space and hid.
20   Fortunately, she had a .38 caliber revolver. She would need it. The intruder worked his
21   way upstairs, broke through a locked bedroom door and a locked bathroom door, and
     opened the crawl space door. The family was cornered with no place to run. He stood
22   staring at her and her two children. The mother shot six times, hitting the intruder five
23   times, when she ran out of ammunition. Though injured, the intruder was not
     incapacitated. Fortunately, he decided to flee.”) (Citations omitted).
24           More examples have been reported since those words were written. When four
25   suspects in a stolen car with stolen guns and ammunition used stolen house keys to enter
     the victims’ home in Tallahassee, Florida at 3:37 a.m., the victim fired 25 rounds before
26   the suspects retreated out of the home. Police: Tallahassee homeowner shot 2 out of 4
27   home invasion suspects, all 4 charged, ABC27 WTXL (May 24, 2019)
     https://www.wtxl.com/news/local-news/tpd-investigating-home-invasion-robbery
28   [https://perma.cc/AQ36-S2ZH].
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 1   under this statute, the State says “too bad.” It says, if you think you need more than 10
 2   chances to defend yourself against criminal attackers, you must carry more magazines.
 3   Or carry more bullets to hand reload and fumble into your small magazine while the
 4   attackers take advantage of your pause. On the other hand, you can become a criminal,
 5   too. So, the previously law-abiding California citizen who buys and keeps at her bedside
 6   a nationally popular Glock 17 (with its standard 17-round magazine) becomes the
 7   criminal, because the State dictates that a gun with a 17-round magazine is not well-
 8   suited for home defense. 26
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            In Kentucky, when a home intruder wearing a bulletproof vest shot and killed one
16   daughter asleep in her bed, the father awoke and needed to fire 11 shots from one gun and
17   8 shots from a second gun, while suffering 3 gunshot wounds himself, to protect his other
     daughter, his wife, and himself. Krista Johnson and Hayes Gardner, Jordan Morgan’s
18   death: Suspect Shannon Gilday arrested in Madison County, Louisville Courier J. (Feb.
19   28, 2022), https://www.courier-journal.com/story/news/local/2022/02/28/shannon-gilday-
     arrested-in-jordan-morgan-richmond-ky-shooting/6941351001/ [https://perma.cc/Q49M-
20   ZFF9].
21          On a Chicago train this year, a citizen was robbed at gunpoint by a suspect who
     had been previously arrested 32 times. The victim, a bank security guard, shot back 18
22   times (4 of the rounds jammed) before the suspect retreated off the train. Arrested 32
23   times since 2014, man allegedly engaged in a ‘firefight’ with a concealed carry holder on
     a CTA train, CWBChicago (Jan. 22, 2023), https://cwbchicago.com/2023/01/arrested-32-
24   times-since-2014-man-allegedly-engaged-in-a-firefight-with-a-concealed-carry-holder-
25   on-a-cta-train.html [https://perma.cc/EAV2-8F2E].
     26
        Criminals sometimes do not abide by gun regulations and pass around “gang guns”
26   with magazines larger than 10 rounds. See, e.g., People v. Cyrus, No. E075271, 2023
27   Cal. App. Unpub. LEXIS 1301, at *5 (Mar. 3, 2023) (describing a Glock .40 cal. handgun
     and 29-round magazine and explaining, “[a] ‘gang gun’ is a gun that is passed around the
28   gang and used by numerous gang members to commit crimes.).
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 1         Numbers vary, but some estimate that 81 million Americans own between 415 27
 2   and 45628 million firearms. Further, millions of Americans across the country own large
 3   capacity magazines. “One estimate . . . shows that . . . civilians possessed about 115
 4   million LCMs out of a total of 230 million magazines in circulation. Put another way,
 5   half of all magazines in America hold more than 10 rounds.” 29 A more recent large-scale
 6   survey estimates that Americans today own 542 million rifle and handgun magazines that
 7   hold more than 10 rounds. 30 Home defense and target shooting are the two most
 8   common reasons for owning these larger magazines. 31 Moreover, the survey reports 48%
 9   of gun owners have owned a handgun or rifle magazine that holds more than 10 rounds. 32
10   But California bans these typically possessed magazines kept and used for self-defense.
11         Why are larger magazines chosen for self-defense? Crime happens a lot. One
12   recent estimate holds that guns are needed defensively approximately 1,670,000 times a
13   year.33 Another report, originally commissioned and long cited by the Centers for
14   Disease Control and Prevention estimated that there are between 500,000 and 3,000,000
15
16
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     27
        William English, 2021 National Firearms Survey: Updated Analysis Including Types
     of Firearms Owned 7 (Geo. McDonough Sch. of Bus. Rsch. Paper No. 4109494, 2022),
18   available at https://ssrn.com/abstract=4109494 [https://perma.cc/83XT-75YG].
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     28
        See Suppl. Decl. of Louis Klarevas, Dkt. 137-5 (“Suppl. Klarevas Decl.”), at ¶ 15 and
     n.13.
20   29
        Duncan, 970 F.3d at 1142, reh’g en banc granted, opinion vacated, 988 F.3d 1209 (9th
21   Cir. 2021), and on reh’g en banc sub nom. Duncan v. Bonta, 19 F.4th 1087 (9th Cir.
     2021), cert. granted, judgment vacated, 142 S. Ct. 2895 (2022), and vacated and
22   remanded, 49 F.4th 1228 (9th Cir. 2022).
23
     30
        English, supra, at 25 (“These estimates suggest that Americans have owned some 542
     million rifle and handgun magazines that hold over 10 rounds.”). Plaintiff’s expert,
24   Stephen Helsley, a retired California Department of Justice Assistant Director of the
25   Division of Law Enforcement, estimates there are between 500 million and one billion
     magazines able to hold more than 10 rounds. See Declaration of Helsley in Support of
26   Plfs.’ Suppl. Br., Exh. 10, Dkt. 132-4, at ¶ 11.
27
     31
        English, supra, at 23.
     32
        Id. at 22.
28   33
        Id. at 35.
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 1   defensive gun uses in the United States every year. 34 Woe to the victim who runs out of
 2   ammunition before armed attackers do. The police will mark the ground with chalk,
 3   count the number of shell casings, and file the report.
 4         All of this was decided earlier.
 5         What remains to be done? California Penal Code § 32310 must be assessed in
 6   light of Bruen. Now, on remand, the State has to justify this ban under Bruen, which
 7   makes clear that “[t]o justify its regulation, the government may not simply posit that the
 8   regulation promotes an important interest.”35 After all, “‘the very enumeration of the
 9   right takes out of the hands of government—even the Third Branch of Government—the
10   power to decide on a case-by-case basis whether the right is really worth insisting
11   upon.’”36 So, the State must demonstrate that its extreme ban is consistent with this
12   Nation’s historical tradition of firearms regulation. As explained below, there is no
13   national tradition of prohibiting or regulating firearms based on firing capacity or
14   ammunition capacity.
15   II.   CONSTITUTIONAL STANDARDS
16         The Second Amendment provides: “A well regulated Militia, being necessary to
17   the security of a free State, the right of the people to keep and bear Arms, shall not be
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20   34
        See Inst. of Med. & Nat’l Rsch. Council, Priorities for Research to Reduce the Threat
21   of Firearm-Related Violence 15 (The Nat’l Acads. Press ed., 2013),
     https://doi.org/10.17226/18319 [https://perma.cc/K3N4-FEXQ]. For many years the
22   CDC’s “fast facts” webpage referred to this report. The report itself had two different
23   ranges. The second rage estimated from 60,000 to 2,500,000 annual defensive gun uses
     in America. See Internet Archive Wayback Machine, CDC Firearm Violence Prevention,
24   captured July 26, 2021,
25   https://web.archive.org/web/20210726233739/https://www.cdc.gov/violenceprevention/fi
     rearms/fastfact.html. The Court notes that the CDC has changed its reporting to delete
26   reference to this study and the Court will not comment on how or why that happened as
27   the CDC website does not reflect why it was deleted.
     35
        Bruen, 142 S. Ct. at 2126.
28   36
        Id. at 2129 (quoting Heller, 554 U.S. at 634).
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 1   infringed.”37 “[T]he Second Amendment extends, prima facie, to all instruments that
 2   constitute bearable arms, even those that were not in existence at the time of the
 3   founding.” 38 According to Heller, “[t]he Second Amendment is naturally divided into
 4   two parts: its prefatory clause and its operative clause. The former does not limit the
 5   latter grammatically, but rather announces a purpose. The Amendment could be
 6   rephrased, ‘Because a well regulated Militia is necessary to the security of a free State,
 7   the right of the people to keep and bear Arms shall not be infringed.’” 39 “The first salient
 8   feature . . . is that it codifies a ‘right of the people.’”40 Heller then examines the
 9   substance of the constitutional right, the verbs to keep and to bear and their object: arms.
10   So, what does it mean to keep and bear arms?
11         The Supreme Court concludes, “[t]he 18th-century meaning [of “arms”] is no
12   different from the meaning today. The 1773 edition of Samuel Johnson’s dictionary
13   defined ‘arms’ as ‘weapons of offence, or armour of defence.’ Timothy Cunningham’s
14   important 1771 legal dictionary defined ‘arms’ as ‘any thing that a man wears for his
15   defence, or takes into his hands, or useth in wrath to cast at or strike another.’” 41 In the
16   past, the term “arms” included weapons that were not specifically designed for military
17   use and were not employed in a military capacity. “Although one founding-era thesaurus
18   limited ‘arms’ . . . to ‘instruments of offence generally made use of in war,’ even that
19   source stated that all firearms constituted ‘arms,’” according to Heller.42 And it is now
20   clear that “the Second Amendment extends, prima facie, to all instruments that constitute
21   bearable arms, even those that were not in existence at the time of the founding.” 43
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        U.S. Const. amend. II (emphasis added).
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     38
        Caetano, 577 U.S. 411 (quoting Heller, 554 U.S. at 581).
     39
        Heller, 554 U.S. at 577 (citations omitted).
26   40
        Heller, 554 U.S. at 579.
27
     41
        Heller, 554 U.S. at 581 (citations omitted).
     42
        Heller, 554 U.S. at 581 (citations omitted).
28   43
        Heller, 554 U.S. at 582.
                                                    10
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 1   Heller later describes the types and kinds of arms that are guaranteed Second
 2   Amendment protection. But first, Heller describes the meanings of “to keep” and “to
 3   bear” arms.
 4         “We turn to the phrases ‘keep arms’ and ‘bear arms.’ Johnson defined ‘keep’ as,
 5   most relevantly, ‘to retain; not to lose,’ and ‘to have in custody.’ Webster defined it as
 6   ‘to hold; to retain in one’s power or possession’. . . .Thus the most natural reading of
 7   ‘keep Arms’ in the Second Amendment is to ‘have weapons.’” 44 “Keep arms,” according
 8   to Heller, “was simply a common way of referring to possessing arms, for militiamen and
 9   everyone else.”45 “To bear” meant to carry for the purpose of being armed and ready in
10   case of conflict with another person. Heller even cited with approval the meaning of the
11   phrase “carries a firearm” proposed by Justice Ginsburg in Muscarello v. United States:
12   “as the Constitution’s Second Amendment indicates: ‘wear, bear, or carry upon the
13   person or in the clothing or in a pocket, for the purpose of being armed and ready for
14   offensive or defensive action in a case of conflict with another person.’”46 Providing our
15   modern understanding of the Second Amendment’s text, Heller concludes, “[p]utting all
16   of these textual elements together, we find that they guarantee the individual right to
17   possess and carry weapons in case of confrontation.” 47
18         Very important in the past, still important in the future, Heller describes the
19   concept of America’s militia. “In Miller, we explained that ‘the Militia comprised all
20
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22   44
        Heller, 554 U.S. at 582 (citations omitted).
23
     45
        Heller, 554 U.S. at 583.
     46
        Heller, 554 U.S. at 584 (quoting Muscarello, 524 U.S. 125, 143 (1998) (Ginsburg, J.
24   dissenting).
25
     47
        Heller, 554 U.S. at 592 (emphasis added). “As the most important early American
     edition of Blackstone’s Commentaries (by the law professor and former Antifederalist St.
26   George Tucker) made clear in the notes to the description of the arms right, Americans
27   understood the ‘right of self-preservation’ as permitting a citizen to ‘repel force by force’
     when ‘the intervention of society in his behalf, may be too late to prevent an injury.’” Id.
28   at 595 (quoting 1 Blackstone’s Commentaries, 145-46, n.42 (1803)).
                                                  11
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 1   males physically capable of acting in concert for the common defense.’”48 And Heller
 2   explains why the militia was important. Two of the three reasons remain important
 3   today. “There are many reasons why the militia was thought to be ‘necessary to the
 4   security of a free State.’ First, of course, it is useful in repelling invasions and
 5   suppressing insurrections. . . . Third, when the able-bodied men of a nation are trained in
 6   arms and organized, they are better able to resist tyranny.”49 Once one understands the
 7   history of tyrants resorting to taking away people’s arms to suppress political opposition,
 8   Heller explains, one can see that the militia clause fits perfectly with the operative clause.
 9   Heller teaches,
10                We reach the question, then: Does the preface fit with an
                  operative clause that creates an individual right to keep and bear
11
                  arms? It fits perfectly, once one knows the history that the
12                founding generation knew and that we have described above.
                  That history showed that the way tyrants had eliminated a
13
                  militia consisting of all the able-bodied men was not by
14                banning the militia but simply by taking away the people’s
                  arms, enabling a select militia or standing army to suppress
15
                  political opponents. This is what had occurred in England that
16                prompted codification of the right to have arms in the English
                  Bill of Rights. 50
17
18
           While the protection of a citizen militia was important, most people regarded the
19
     Second Amendment as even more important for its protection of self-defense and
20
     hunting. “The prefatory clause does not suggest that preserving the militia was the only
21
     reason Americans valued the ancient right; most undoubtedly thought it even more
22
     important for self-defense and hunting.”51 After all, “‘[t]he right to self defence is the
23
     first law of nature: in most governments it has been the study of rulers to confine the right
24
25
26   48
        Heller, 554 U.S. at 595.
27
     49
        Heller, 554 U.S. at 598 (citations omitted).
     50
        Heller, 554 U.S. at 598.
28   51
        Heller, 554 U.S. at 599 (emphasis added).
                                                    12
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 1   within the narrowest limits possible. Wherever standing armies are kept up, and the right
 2   of the people to keep and bear arms is, under any colour or pretext whatsoever,
 3   prohibited, liberty, if not already annihilated, is on the brink of destruction.’”52 As one
 4   commentator wrote at the time the Fourteenth Amendment was adopted in 1868, “[t]he
 5   purpose of the Second Amendment is to secure a well-armed militia. . . . But a militia
 6   would be useless unless the citizens were enabled to exercise themselves in the use of
 7   warlike weapons.”53 In this way, a general public knowledge and skill with weapons of
 8   war is beneficial to the nation at large and is protected by the Second Amendment. “No
 9   doubt, a citizen who keeps a gun or pistol under judicious precautions, practices in safe
10   places the use of it, and in due time teaches his sons to do the same, exercises his
11   individual right.”54 And “[t]he right to bear arms has always been the distinctive privilege
12   of freemen.” 55 In the end, the Supreme Court deems the Second Amendment as valuable
13   for both preserving the militia and for self-defense – which is the heart of the right.
14   McDonald put it this way:
15                In Heller, we recognized that the codification of this right was
                  prompted by fear that the Federal Government would disarm
16
                  and thus disable the militias, but we rejected the suggestion that
17                the right was valued only as a means of preserving the militias.
                  On the contrary, we stressed that the right was also valued
18
                  because the possession of firearms was thought to be essential
19                for self-defense. As we put it, self-defense was “the
                  central component of the right itself.” 56
20
21
22
23
     52
        Heller, 554 U.S. at 606 (citation omitted).
24   53
        Heller, 554 U.S. at 618 (quoting J. Pomeroy, An Introduction to the Constitutional Law
25   of the United States §239, pp. 152-153 (1868)).
     54
        Heller, 554 U.S. at 619 (quoting B. Abbott, Judge and Jury: A Popular Explanation of
26   the Leading Topics in the Law of the Land 333 (1880)).
27
     55
        Heller, 554 U.S. at 619 (quoting J. Ordronaux, Constitutional Legislation in the United
     States 241-242 (1891)).
28   56
        McDonald, 561 U.S. at 926-27.
                                                   13
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 1         Heller specifically considered “whether a District of Columbia prohibition on the
 2   possession of usable handguns in the home violates the Second Amendment to the
 3   Constitution.”57 And “District of Columbia law also require[d] residents to keep their
 4   lawfully owned firearms, such as registered long guns, ‘unloaded and dissembled or
 5   bound by a trigger lock or similar device’ unless they are located in a place of business or
 6   are being used for lawful recreational activities.”58 In the end, the Supreme Court struck
 7   down both parts of the statute. “In sum, we hold that the District’s ban on handgun
 8   possession in the home violates the Second Amendment, as does its prohibition against
 9   rendering any lawful firearm in the home operable for the purpose of immediate self-
10   defense.” 59 While reaching its conclusion, the Supreme Court considered what types of
11   firearms were, and were not, protected by the Constitution. Highlighting the central
12   tenant of the Second Amendment, the Supreme Court wrote,
13                We may as well consider at this point (for we will have to
                  consider eventually) what types of weapons Miller permits.
14
                  Read in isolation, Miller’s phrase “part of ordinary military
15                equipment” could mean that only those weapons useful in
                  warfare are protected. That would be a startling reading of the
16
                  opinion, since it would mean that the National Firearms Act’s
17                restrictions on machineguns (not challenged in Miller) might be
                  unconstitutional, machineguns being useful in warfare in 1939.
18
                  We think that Miller’s “ordinary military equipment” language
19                must be read in tandem with what comes after: “Ordinarily
                  when called for militia service able-bodied men were expected
20
                  to appear bearing arms supplied by themselves and of the kind
21                in common use at the time.” The traditional militia was formed
                  from a pool of men bringing arms “in common use at the time”
22
                  for lawful purposes like self-defense. “In the colonial and
23                revolutionary war era, small-arms weapons60 used by
24
25
     57
        Heller, 554 U.S. at 573 (emphasis added).
26   58
        Heller, 554 U.S. at 575. The Court declared both aspects of the statute to be in
27   violation of the Second Amendment.
     59
        Heller, 554 U.S. at 635.
28   60
        Not cannons or mortars.
                                                  14
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 1                militiamen and weapons used in defense of person and home
                  were one and the same.” . . . We therefore read Miller to say
 2
                  only that the Second Amendment does not protect those
 3                weapons not typically possessed by law-abiding citizens for
                  lawful purposes.61
 4
 5
     Since it was “the conception of the militia at the time of the Second Amendment’s
 6
     ratification [that] the body of all citizens capable of military service, [citizens] would
 7
     bring the sorts of lawful weapons that they possessed at home to militia duty,” 62 the right
 8
     to keep and carry arms means “the sorts of weapons protected were those ‘in common
 9
     use at the time.’”63
10
           A. Magazines Are Protected “Arms”
11
           The State argues that larger capacity magazines are not “arms.” First, the State
12
     argues that magazines are not essential to the use of firearms and consequently would
13
     have been thought of as accessories. But magazines are “integral components to vast
14
     categories of guns.” Fyock v. City of Sunnyvale, 25 F.Supp.3d 1267, 1276 (N.D. Cal.
15
     2014), aff’d sub nom. Fyock v. Sunnyvale, 779 F.3d 991 (9th Cir. 2015). “Most pistols
16
     are manufactured with magazines holding ten to seventeen rounds, and many popular
17
     rifles are manufactured with magazines holding twenty or thirty rounds.” Kolbe v.
18
     Hogan, 849 F.3d 114, 129 (4th Cir. 2017) (en banc). While the Second Amendment does
19
     not explicitly mention ammunition or magazines supplying ammunition, “without bullets,
20
     the right to bear arms would be meaningless.” 64 This is because the right to keep firearms
21
22
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     61
        Heller, 554 U.S. at 624-25 (citations omitted). If it existed at the time and were in
     common use, as it is today, would a militia member bring a firearm with a magazine that
26   holds more than 10 rounds? The answer is, yes, of course.
27
     62
        Heller, 554 U.S. at 627.
     63
        Heller, 554 U.S. at 627 citation omitted).
28   64
        Jackson v. City & County of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014)
                                                   15
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 1   for protection implies a corresponding right to obtain the bullets necessary to use them.
 2   “The possession of arms also implied the possession of ammunition.” 65
 3          By extension, “arms” includes the magazine component necessary to supply the
 4   bullet into the chamber of the gun. “[O]ur case law supports the conclusion that there
 5   must also be some corollary, albeit not unfettered, right to possess the magazines
 6   necessary to render those firearms operable.” 66 “It is hard to imagine something more
 7   closely correlated to the right to use a firearm in self-defense than the ability to
 8   effectively load ammunition into the firearm.” 67
 9          Put more broadly, “the Second Amendment protects ancillary rights necessary to
10   the realization of the core right to possess a firearm for self-defense.” 68 Consequently,
11   whether thought of as a firearm able to fire a certain number of rounds because of its
12   inserted magazine, or as a separate ammunition feeding component, magazines are usable
13   “arms” within the meaning of the Second Amendment. As the Third Circuit Court of
14   Appeals found, “[w]e therefore must first determine whether the regulated item is an arm
15   under the Second Amendment. The law challenged here regulates magazines, and so the
16   question is whether a magazine is an arm under the Second Amendment. The answer is
17   yes.” 69
18          Proffering two subsidiary arguments, the State says: (1) a magazine of some size
19   may be necessary, but a magazine larger than 10 rounds is not necessary to operate a
20   firearm and thus a larger magazine is not a protected “arm”; and (2) statistically people
21   rarely fire more than 10 rounds in self-defense so it can be said that a magazine larger
22
23
24
25
     65
        United States v. Miller, 307 U.S. 174, 180 (1939).
     66
        Fyock v. Sunnyvale, 779 F.3d 991, 998 (9th Cir. 2015)
26   67
        Barnett v. Raoul, 2023 U.S. Dist. LEXIS 74756, *26 (S.D. Ill. Apr. 28, 2023).
27
     68
        Teixeira v. Cty. of Alameda, 873 F.3d 670, 677 (9th Cir. 2017).
     69
        Ass’n of N.J. Rifle & Pistol Clubs v. Att’y Gen. of N.J., 910 F/3d 106, 116 (3d Cir.
28   2018).
                                                   16
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 1   than 10 rounds is rarely used for self-defense, and if a larger magazine is not commonly
 2   used for self-defense then it is not a protected “arm.”
 3         For the first argument, the State claims that if a standard 17-round magazine is
 4   detached from a standard Glock 17 pistol, the 17-round magazine is no longer a weapon
 5   (by itself) and because the Glock 17 pistol could still function with a substitute 10-round
 6   magazine, then the 17-round standard Glock magazine does not come within the
 7   definition of “arms” that the Second Amendment protects. 70 In contrast, according to the
 8   State, a magazine holding 10 or less may qualify as a protected “arm,” but a magazine
 9   able to hold 11 or more is not a protected “arm.” What the State seems to be really
10   saying is that a magazine may be a protected arm, but only the State has the right to pick
11   the number of rounds a citizen may have in his gun.
12         This Court disagrees. The Supreme Court has not described protected arms in
13   subdivided categories. When Heller found handguns were protected, it did not
14   distinguish between semiautomatic pistols and revolvers. Heller did not classify
15   protected handguns according to the number of rounds one could hold or the caliber of
16   the ammunition that could be fired. It did not suggest that typically possessed arms could
17   be subcategorized and subjected to judicial ad hoc constitutional determinations.
18   Whether thought of holistically as a “handgun” irrespective of magazine size as Heller
19   does, or as an entirely separate attachment, both firearms and their magazines (of all
20   typical sizes) are “arms” covered by the text of the Second Amendment. “This is not
21   even a close call.”71 As this Court has said before, “[n]either magazines, nor rounds of
22
23
     70
        Of course, the argument admits, sub silentio, that some magazines are necessary to
24   operate a gun. The State says: “To be sure, some type of magazine is essential to the use
25   of many handguns. But there is no evidence in this record . . . that a magazine capable of
     firing more than 10 rounds without reloading is necessary to the function of any modern
26   firearm.” Def’s Suppl. Br., Dkt. 118 at n.10.
27
     71
        Barnett v. Raoul, No. 3:23-cv-00209-SPM, 2023 U.S. Dist. LEXIS 74756, at *26–27
     (S.D. Ill. Apr. 28, 2023); Hanson v. District of Columbia, Civil Action No. 22-2256
28   (RC), 2023 U.S. Dist. LEXIS 68782, at *17 (D.D.C. Apr. 20, 2023) (“At least three
                                                  17
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 1   ammunition, nor triggers, nor barrels are specifically mentioned in the Second
 2   Amendment . . . But without a right to keep and bear triggers, or barrels, or ammunition
 3   and the magazines that hold ammunition, the Second Amendment right would be
 4   meaningless.”72 Using reasoning that is still persuasive, the Ninth Circuit agreed,
 5   explaining “[p]ut simply, a regulation cannot permissibly ban a protected firearm’s
 6   components critical to its operation.” More recently, counsel for California’s Governor
 7   in a related fee-shifting case agreed while pointing out that “[t]he large-capacity
 8   magazines ban appears in the Penal Code’s title on ‘Firearms,’” and “a restriction on the
 9   ammunition that may be used in a firearm is a restriction on firearms.”73 Leaving no
10   doubt, even the (vacated) Ninth Circuit’s en banc decision assumed that § 32310
11   implicates the Second Amendment. 74
12         Relatedly, the State argues that it is only restricting a firearm component or an
13   accessory. 75 “LCMs are not weapons in themselves,” says the State, “nor are they
14
15
     Courts of Appeals have concluded that LCMs are “arms” within the meaning of the
16   Second Amendment.”); Del. State Sportsmen’s Ass’n, Inc. v. Del. Dep’t of Safety &
17   Homeland Sec., Civil Action No. 22-951-RGA, 2023 U.S. Dist. LEXIS 51322, at *19 (D.
     Del. Mar. 27, 2023); contra, Ocean State Tactical, LLC v. Rhode Island, No. 22-cv-246
18   JJM-PAS, 2022 U.S. Dist. LEXIS 227097, at *33–34 (D.R.I. Dec. 14, 2022); Or.
19   Firearms Fed’n, Inc. v. Brown, No. 2:22-cv-01815-IM, 2022 U.S. Dist. LEXIS 219391,
     at *23–25 (D. Or. Dec. 6, 2022).
20   72
        Duncan, 366 F. Supp. 3d at 1142–43 (citing Fyock v. City of Sunnyvale, 779 F.3d 991,
21   998 (9th Cir. 2015); Teixeira v. Cty. Of Alameda, 873 F.3d 670, 677 (9th Cir. 2017) (en
     banc); Ass’n of N.J. Rifle & Pistol Clubs v. A.G. N.J., 910 F.3d 106, 116 (3d Cir. 2018).
22   73
        Miller v. Bonta, 22cv1446-BEN (JLB), Intervenor-Def’s Suppl. Br., Dkt. 35, at 14.
23
     74
        Duncan, 19 F.4th at 1103, cert. granted, judgment vacated, 213 L. Ed. 2d 1109, 142 S.
     Ct. 2895 (2022).
24   75
        Instead of isolating the magazine from the gun, the better understanding is to consider
25   the magazine as part of the gun. There is a federal law analogue leading to the
     conclusion that a magazine is correctly regarded as a component part of a gun. The Arms
26   Control Export Act criminalizes the unlicensed export of firearms and their components.
27   22 U.S.C. § 2778(b). Firearm magazines come within the Act because “a magazine is
     ‘useful’ only when used in conjunction with that end-item [a rifle]: its sole purpose is to
28   load cartridges into the breech so that they can be fired . . . .”75 In this view, the
                                                  18
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 1   necessary to operate any firearm for self-defense.” California residents who purchased
 2   new pistols in the last decade are probably surprised to hear that magazines are not
 3   necessary to operate a pistol. After all, another state law known as the Unsafe Handgun
 4   Act requires new semiautomatic pistols to have an integrated magazine-disconnect
 5   mechanism in order to be sold to the public. 76
 6         A magazine-disconnect mechanism prevents a pistol from firing at all, even if one
 7   round is left loaded in the chamber, if the magazine is not inserted into the pistol. The
 8   state-mandated magazine-disconnect mechanism thus prevents the operation of the
 9   firearm without its magazine.77 While rifles are not required to have a magazine-
10   disconnect mechanism, the State must concede that at least for semiautomatic handguns
11   the State deems “not unsafe,” firearms for self-defense will not function without a
12   magazine.78 Modern magazines, submits the State, are more like founding-era cartridge
13   boxes or “ancillary equipment associated with soldiering” that were not strictly necessary
14   to fire a gun. Today, however, as pointed out above, some semiautomatic firearms will
15   not function at all without a magazine, while others can fire no more than one round. As
16
17
18
19   magazine is a necessary component part of a gun which, in turn, would obviously fall
     under the text of the Second Amendment protection of “arms.”
20   76
        “California’s Unsafe Handgun Act (the ‘UHA’) seeks to prevent accidental discharges
21   by requiring handguns to have particular safety features . . . [t]he UHA requires certain
     handguns to have a magazine disconnect mechanism (“MDM”), which prevents a
22   handgun from being fired if the magazine is not fully inserted.” Boland v. Bonta, No.
23   SACV2201421CJCADSX, 2023 WL 2588565, at *1 (C.D. Cal. Mar. 20, 2023) (citing
     Cal. Penal Code §§ 16900, 31910(b)(5)).
24   77
        Semiautomatic pistols elsewhere in the nation usually do not have a magazine-
25   disconnect mechanism so a pistol can still fire one chambered round without its
     magazine. Of course, one need not go too far out on a limb to say that a semi-automatic
26   pistol that can fire only 1-round is not the sort of self-defense weapon most people would
27   choose.
     78
        To be precise, revolvers are handguns that do not require a magazine-disconnect
28   mechanism, but that is because a revolver does not have a detachable magazine.
                                                  19
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 1   such, a magazine is an essential component without which a semiautomatic firearm is
 2   useless for self-defense. Therefore, a magazine falls within the meaning of “arms.”79
 3         B. LCMs Are Used for Self-Defense
 4         Notwithstanding that the Second Amendment protects the right to “keep and bear,”
 5   the State’s more troubling argument is that magazines holding more than 10 rounds are
 6   not being used for self-defense. By “used,” the State means actually fired. The State
 7   asserts, “there is no evidence that LCMs are frequently used in self-defense.”
 8   Continuing, the State asserts, “[t]o the contrary, the record reflects that it is exceedingly
 9   rare for an individual, in a self-defense situation, to fire more than ten rounds.” But
10   without conceding the accuracy of the State’s position, infrequent use or “exceedingly
11   rare” is not the same as never. To support the State’s argument, it relies on a
12   statistician’s conclusion that an average of only 2.2 rounds are fired in an average self-
13   defense situation. Because more than 10 rounds in the average situation are not being
14   fired for self-defense, the argument goes, magazines holding more than 10 rounds are not
15   used or needed for self-defense. And because the Second Amendment protects
16   (according to the State) only those arms commonly “used” for self-defense, the State says
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18
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     79
       See e.g., Hanson v. D.C., No. CV 22-2256 (RC), 2023 WL 3019777, at *7 (D.D.C.
20   Apr. 20, 2023) (“The District’s logic, by contrast, would allow it to ban all magazines
21   (not just LCMs) — a result even the District does not endorse here — because a firearm
     technically does not require any magazine to operate; one could simply fire the single
22   bullet in the firearm’s chamber. The Court will therefore follow the persuasive reasoning
23   of ANJRPC, Kolbe, and Duncan in concluding that LCMs are “arms” within the meaning
     of the Second Amendment.”); see also Barnett v. Raoul, No. 3:23-CV-00141-SPM, 2023
24   WL 3160285, at *8 (S.D. Ill. Apr. 28, 2023) (“Defendants’ argument is not persuasive.
25   The Seventh Circuit has recognized the Second Amendment as extending to “corollaries
     to the meaningful exercise of the core right to possess firearms for self-defense.” It is
26   hard to imagine something more closely correlated to the right to use a firearm in self-
27   defense than the ability to effectively load ammunition into the firearm.”).
28
                                                   20
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 1   larger capacity magazines are not commonly “used,” and therefore they are not protected
 2   arms.80
 3         It is a remarkable reading of Heller, McDonald, Caetano, and Bruen to say that if a
 4   gun is not fired more than 10 times in self-defense then the gun’s larger magazine is not
 5   being “used” in self-defense, and if not “used” in self-defense, then not protected by the
 6   Second Amendment. Yet, this is the State’s theme.
 7         In this Court’s view, it is a crabbed reading of the Supreme Court’s Second
 8   Amendment decisions and not relevant to the text, history and tradition test. The
 9   Supreme Court uses several descriptive phrases to describe the kinds of firearms that are
10   protected by the Constitution. But common to all is the notion that to be protected, an
11   arm needs only to be regarded as typically possessed or carried, or commonly kept, by
12   citizens to be ready for use, if needed. The Supreme Court has not said that the actual
13   firing of a gun is any part of the test. Indeed, the Second Amendment does not say that
14   the right of the People to keep only such firearms as they actually shoot, shall not be
15   infringed.
16         McDonald begins, “[t]wo years ago, in District of Columbia v. Heller, we held that
17   the Second Amendment protects the right to keep and bear arms for the purpose of self-
18   defense, and we struck down a District of Columbia law that banned the possession of
19   handguns in the home.” 81 What mattered is the purpose for which handguns were
20   possessed, not necessarily the actual use.
21
22
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     80
        A similar argument was made by the State in N.A. for Gun Rights v. Lamont, Case No.
     22-1118 (JBA), 2023 U.S. Dist. LEXIS 134880, *40 (D. Conn. Aug. 3, 2023)
24   (“Defendants maintain that after Bruen, Plaintiffs must show not only that the weapons
25   and accoutrements are commonly owned, but they are commonly possessed and used for
     self-defense base on Bruen’s repeated use of the phrase ‘common use’ for self-defense.”)
26   (emphasis added), and in Oregon Firearms Federation v. Kotek, Case No. 22cv1815-IM,
27   *67 (D. Ore. July 14, 2023) (“Defendants … argue for an interpretation of ‘use’ that
     includes some objective metric of an LCM’s actual use in self-defense.”).
28   81
        561 U.S. at 749-50 (citation omitted) (emphasis added).
                                                  21
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 1         The State puts its weight on the words “use,” “uses,” and “used.” One problem
 2   with the State’s view is that it treats the Supreme Court’s opinion language like the
 3   language of a statute. That is a mistake. “Because ‘opinions, unlike statutes, are not
 4   usually written with the knowledge or expectation that each and every word may be the
 5   subject of searching analysis,’ we do not follow statutory canons of construction with
 6   their focus on ‘textual precision’ when interpreting judicial opinions.” 82
 7         Under the State’s reading, a homeowner who displays a handgun with a 17-round
 8   magazine to scare away home invaders, has not “used” the 17-round magazine. Under
 9   the State’s reading, even a citizen who fires his semiautomatic firearm 10 times or less to
10   defend himself, has not used his 17-round magazine in self-defense. Admittedly, one can
11   find different meanings of the term “use.” For example, in the context of a criminal
12   statute, the Supreme Court acknowledged “use” offers different possible meanings.
13   “[T]he word ‘use’ poses some interpretational difficulties because of the different
14   meanings attributable to it. Consider the paradoxical statement: ‘I use a gun to protect
15   my house, but I’ve never had to use it.’”83 Consequently, context is important, whether
16   interpreting a statute or understanding an opinion. 84
17         So, considering the words “use” or “used” in context, the State’s notion is far
18   removed from the meaning indicated by the Supreme Court. Heller considered merely
19   the simple possession of usable handguns in the home. Focusing on the right to possess a
20   usable arm, Heller said, “[w]e consider whether a District of Columbia prohibition on the
21   possession of usable handguns in the home violates the Second Amendment to the
22
23
24
25
     82
        Upper Skagit Indian Tribe v. Sauk-Suiattle Indian Tribe, 66 F.4th 766, 770 (9th Cir.
     2023) (citations omitted).
26   83
        Bailey v. United States, 516 U.S. 137, 143 (1996) (emphasis in original).
27
     84
        Muscarello v. United States, 524 U.S. 125, 144 (1998) (“Noting the paradoxical
     statement, ‘I use a gun to protect my house, but I’ve never had to use it,’ the Court in
28   Bailey emphasized the importance of context.”)
                                                   22
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 1   Constitution.”85 Actual firing of a handgun in the District was irrelevant. Statistical
 2   surveys of shots fired in self-defense were not determinative – they were not even
 3   mentioned. Heller used a simpler test. Constitutional protection is afforded to weapons
 4   “typically possessed by law-abiding citizens for lawful purposes,” focusing on typicality
 5   and possession rather than frequency of firing. 86
 6         McDonald says “the right was also valued because the possession of firearms was
 7   thought to be essential for self-defense.” McDonald’s focus is on possession.87 And
 8   McDonald says the right applies “to handguns because they are ‘the most preferred
 9   firearm in the nation to ‘keep’ and use for protection of one’s home and family,’”
10   focusing on a national subjective preference for handguns. 88 There was no effort by the
11   Supreme Court to condition the constitutional right upon some objective metric of actual
12   handgun firing in self-defense.
13         Bruen says, “[t]he Second Amendment guaranteed to ‘all Americans’ the right to
14   bear commonly used arms in public.” Bruen appears to focus on commonality. 89 Bruen
15   injects some ambiguity with the following phraseology, “the Second Amendment
16   protects the possession and use of weapons that are ‘in common use at the time.’” 90
17   Bruen noted that in that case, no party disputed that handguns are weapons “in common
18   use” today for self-defense, but did not say what it meant by “use.” 91 So, what does the
19   Supreme Court mean by its phrase “in common use?” Is the focus placed on a weapon’s
20   commonality in society or the frequency of a weapon’s firing? Bruen answers the
21   question elsewhere in its opinion. Commonality is the focus. Consider the following
22
23
     85
        554 U.S. at 573 (emphasis added).
24   86
        554 U.S. at 625; see also at 720 (Breyer, J., dissenting) (describing the majority test in
25   the same terms).
     87
        561 U.S. at 787.
26   88
        Id. at 767 (citations omitted).
27
     89
        142 S. Ct. at 2156 (citing Heller, 554 U.S. at 581).
     90
        Id. at 2128 (citing Heller, 554 U.S. at 627).
28   91
        Id. at 2134.
                                                   23
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 1   sentence from Bruen: “Drawing from this historical tradition, we explained there that the
 2   Second Amendment protects only the carrying of weapons that are those ‘in common use
 3   at the time,’ as opposed to those that ‘are highly unusual in society at large.’”92 Or
 4   consider this sentence from Bruen’s footnote 13: “Even assuming that pocket pistols
 5   were, as East Jersey in 1686 deemed them, ‘unusual or unlawful,’ it appears that they
 6   were commonly used at least by the founding.”93 Bruen contrasts common pistols against
 7   unusual pistols. The focus remains on commonality, not the frequency of actual
 8   discharge in self-defense scenarios. Put simply, Second Amendment protection envelops
 9   weapons commonly or typically subjectively chosen by citizens to keep in case of
10   confrontation.
11         From Bruen, it is evident that the Supreme Court’s focus is on whether a weapon is
12   common (or unusual) amongst the citizenry. This, in turn, requires some sort of
13   generalized numerical estimation of citizen ownership or gauge of present popularity. In
14   Caetano, the concurring Justices explained that, “[t]he more relevant statistic is that
15   ‘hundreds of thousands of Tasers and stun guns have been sold to private citizens,’ who it
16   appears may lawfully possess them in 45 States.” 94 That Ms. Caetano did not actually
17   energize and fire her stun gun made no difference to the Supreme Court. In her case, she
18   did no more than display the weapon. “She stood her ground [and] displayed the stun
19   gun.”95 Absent from the opinion is any discussion about the average number of times a
20   stun gun is energized in an average self-defense scenario. Absent from the opinion is any
21   objective metric counting the frequency with which stun guns have been fired. The
22
23
24   92
        Id. at 2143 (emphasis added).
25
     93
        Id. at n.13 (citation omitted).
     94
        577 U.S. at 420 (citations omitted) (“While less popular than handguns, stun guns are
26   widely owned and accepted as a legitimate means of self-defense across the country.
27   Massachusetts’ categorical ban of such weapons therefore violates the Second
     Amendment.”).
28   95
        Id. at 413, (Alito, J., concurring).
                                                  24
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 1   measure of constitutional protection was that the stun gun was “used” in the sense that
 2   stun guns are widely owned to satisfy a subjective need for protection and that the
 3   number in existence was in the hundreds of thousands.
 4         Applying the same measure to magazines, because it is the case that magazines
 5   holding more than 10 rounds are owned and possessed by millions of Americans to meet
 6   a subjective need for self-defense, this fact alone entitles such magazines to Second
 7   Amendment protection. When a magazine is commonly owned by Americans with the
 8   subjective intention of using it for self-defense, it is enough to say that it is in common
 9   use (or typically used) for self-defense, as the Supreme Court employs the phrase in its
10   opinions.96
11         Probably the vast majority of Americans that own magazines of 11 rounds or more
12   keep them and use them for self-defense in the same way that a driver puts on and uses a
13   seat belt in the case of a collision. Though collisions rarely happen, the seat belt is used
14   for protection and to be ready for the unexpected collision. A reserve canopy is being
15   used on a parachute jump, although it is not deployed, in case the main parachute fails. A
16   cell phone in one’s pocket is being used when waiting for a telephone call or in the event
17   one needs to make a call. In the same way, a firearm kept on one’s nightstand is used for
18   self-defense even when the night is quiet. It is kept and used in case of confrontation. A
19   person may happily live a lifetime without needing to fire their gun in self-defense. But
20   that is not to say that such a person does not use their gun for self-defense when he or she
21   keeps it under the bed with a hope and a prayer that it never has to be fired.
22         In 2016, an 81-year old Uniontown, Pennsylvania man and his elderly sister were
23   at home when at night an intruder broke in. In the ensuing struggle, the older man fired
24
25
26   96
        At the margin, there may be a weapon that is commonly owned that is not commonly
27   used for self-defense. One could imagine perhaps a reproduction of an 18th century
     flintlock or a World War II German Luger being commonly owned, but used only as
28   curios or museum pieces.
                                                   25
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 1   one shot from his gun at his attacker. The victim said he had never before fired his gun
 2   and that it had been sitting on his nightstand for thirty years. 97 California would say that
 3   the victim did not use his gun for self-defense on any day of those preceding thirty years.
 4   And if his gun had a magazine with eleven or more rounds in it (the news report does not
 5   say), California would argue that the victim never did use his large capacity magazine in
 6   self-defense. This Court would say that the victim used his gun every night of the thirty
 7   years he subjectively kept it on his bedroom nightstand in case of confrontation,
 8   including the night of the burglary. And if his gun had been equipped with a large
 9   capacity magazine, it could correctly be said that he also used the large capacity
10   magazine for self-defense every night of the thirty years he subjectively kept it on his
11   bedroom nightstand in case of confrontation.
12         C. The Invention of the 2.2 Shot Average
13         Without agreeing that when the Supreme Court discusses firearms “in common
14   use” it means commonly fired, even if it did, the State’s statistic is suspect. California
15   relies entirely on the opinion of its statistician for the hypothesis that defenders fire an
16   average of only 2.2 shots in cases of confrontation.
17         Where does the 2.2 shot average originate? There is no national or state
18   government data report on shots fired in self-defense events. There is no public
19   government database. One would expect to see investigatory police reports as the most
20   likely source to accurately capture data on shots fired or number of shell casings found,
21   although not every use of a gun in self-defense is reported to the police. As between the
22   two sides, while in the better position to collect and produce such reports, the State’s
23
24
25
26   97
       81-year-old fatally shoots home invasion suspect, says gun had never been used in 30
27   years, WXPI-TV 11 News (Nov. 4, 2016), https://www.wpxi.com/news/81-year-old-
     fatally-shoots-home-invasion-suspect-says-gun-had-never-been-used-in-30-
28   years/464100332/ [https://perma.cc/FRP6-MA9P].
                                                    26
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 1   Attorney General has not provided a single police report to the Court or to his own
 2   expert.98
 3         Without investigatory reports, the State’s expert turns to anecdotal statements,
 4   often from bystanders, reported in news media, and selectively studied. She indicates she
 5   conducted two studies. 99 Based on these two studies of newspaper stories, she opines that
 6   it is statistically rare for a person to fire more than 10 rounds in self-defense and that only
 7   2.2 shots are fired on average.100 Unfortunately, her opinion lacks classic indicia of
 8   reliability and her two studies cannot be reproduced and are not peer-reviewed.
 9   “Reliability and validity are two aspects of accuracy in measurement. In statistics,
10   reliability refers to reproducibility of results.” 101 Her studies cannot be tested because she
11
12
13
     98
        Allen asked the State for police reports, but she did not receive them. See Transcript,
14   Preliminary Injunction Hearing, 10/19/20, 153:1-16:
15           “THE COURT: Let me ask you a question. Did you ever ask, for example,
     [Deputy Attorney General] Mr. Echeverria if he would get you the law enforcement
16   reports of home defense shootings that may have occurred where the homeowner or the
17   person at home fired shots at someone that was intruding?
            THE WITNESS: Yes. So I did ask both from the State of California as well as
18   from a number of other states that I have worked for, I have asked for data on incidents of
19   exactly that, or whether there was a broader set of data that they had that I could then
     review.
20          THE COURT: And did you get that from the State of California?
21          THE WITNESS: I did not. It was my understanding that the State of California
     did not have that data or did not have that in a way that it could be reviewed. That that is
22   not -- that is not a type of data that is collected.”
23
     99
        Lucy Allen Supp. Decl. Dkt 118-1.
     100
         Allen Supp. Decl. Dkt 118-1, at ¶10. Of course, though one may assume that “LCMs”
24   are only used .3% of the time, for the unfortunate homeowner who makes up part of the
25   .3%, it is 100% of his time.
     101
         Federal Judicial Center, Reference Manual on Scientific Evidence (3d ed.), 211
26   Reference Guide on Statistics, 2011 WL 7724256, 10 and n.37 (“Daubert v. Merrell
27   Dow Pharms., Inc., 509 U.S. 579, 590 n.9 (1993), for example, distinguishes “evidentiary
     reliability” from reliability in the technical sense of giving consistent results. We use
28   “reliability” to denote the latter.).
                                                   27
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 1   has not disclosed her data. Her studies have not been replicated. In fact, the formula
 2   used to select 200 news stories for the Factiva study is incomprehensible.
 3         For one study, Allen says she conducted a search of stories published in the NRA
 4   Institute for Legislative Action magazine (known as the Armed Citizen Database)
 5   between 2011 and 2017. There is no explanation for the choice to use 2011 for the
 6   beginning. After all, the collection of news stories goes back to 1958. Elsewhere in her
 7   declaration she studies mass shooting events but for that chooses a much longer time
 8   period reaching back to 1982. Likewise, there is no explanation for not updating the
 9   study after 2017.
10         However it is that they were chosen, some 736 incidents in the Armed Citizen
11   Database were said to be analyzed and the number of shots tabulated, but details are
12   completely absent. Allen does not list the 736 stories. Nor does she reveal how she
13   assigned the number of shots fired in self-defense when the news accounts use phrases
14   like “the intruder was shot” but no number of shots was reported, or “there was an
15   exchange of gunfire,” or “multiple rounds were fired.” She includes in her 2.2 average of
16   defensive shots fired, incidents where no shots were fired.102 One would expect the
17   impact of Allen’s choice to include a zero for a no-shot event to be significant because
18   (even using her number) 32.1% of the events in the home in California were no-shot
19   events.103 She also reported no incidents in California where more than 10 shots were
20   fired in self-defense among the stories she reviewed. It seems obvious that in a state
21   where magazines holding more than 10 rounds have been illegal to buy or sell for twenty
22   years, law-abiding citizens are using the smaller magazines that the law requires for self-
23   defense. Absent from the expert opinion is a statistic reporting the average number of
24
25
26
27
     102
         Allen Supp. Decl. Dkt 118-1 n.10 (“[T]he average includes instances when no shots
     are fired.”).
28   103
         Allen Supp. Decl. Dkt 118-1 at ¶ 12 (table).
                                                  28
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 1   shots fired by criminals. Also absent is the number of intruders or whether the
 2   homeowner was able to escape unharmed.
 3            In another example, it is not evident from the study how she counted the number of
 4   shots fired for one story in the collection where a homeowner “fired back” and three
 5   intruders suffered eight gunshot wounds. Considering most victims miss some of their
 6   shots, one would expect in defending against three attackers that more than eight shots
 7   were fired in self-defense. Instead, all that the Court is told is:
 8                  When the exact number of shots fired was not specified, we
                    used the average for the most relevant incidents with [a] known
 9
                    number of shots. For example, if the story stated that “shots
10                  were fired” this would indicate that at least two shots were fired
                    and thus we used the average number of shots fired in all
11
                    incidents in which two or more shots were fired and the number
12                  of shots was specified. 104
13
     She does not reveal the imputed number substitute value that she used where the exact
14
     number of shots fired was not specified, so her result cannot be reproduced.
15
     Interestingly, substituting an imputed average value for all of the times the number of
16
     shots fired is unknown, tends to bring the overall average of shots fired down towards
17
     2.2. For example if there are ten incidents of self-defense where nine times the victim
18
     fired two shots and one time the victim fired thirteen shots, the average number of shots
19
     fired would be 3.1 but the percentage of times more than ten shots were needed for self-
20
     defense would be 10%.
21
              For a second study, Allen says she conducted a word search of a news aggregator
22
     called Factiva. Factiva is a commercial database behind a paywall to which the Court
23
     and the public have no access. Even if one did have access to the Factiva database, one
24
     could not repeat her study. Allen’s methodology for the Factiva study is
25
     incomprehensible. For the Factiva database of 70 million news stories, her word search
26
27
28   104
           Allen Supp. Decl. Dkt 118-1 n.8.
                                                    29
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 1   returned 35,000 stories. 105 From there she somehow selected 200 stories of defensive gun
 2   use in the home and set out to analyze the events. 106 As with the Armed Citizen study,
 3   Allen does not provide a list of the 200 stories she analyzed. Compare that to the long,
 4   detailed list of 179 mass shooting stories she includes in the second part of her
 5   declaration. For the Factiva study, there is no way to check her analysis or her math.
 6   And once again she includes in the averages those events where no shots were fired,
 7   bringing the overall average down. 107
 8         Had a table of the stories she and her team analyzed been supplied, it would
 9   certainly reveal important information. For example, this Court randomly selected two
10   pages from Allen’s mass shooting table: pages 10 and 14. From looking at these two
11   pages (assuming that the sources for the reports were accurate and unbiased) the Court is
12   able to make statistical observations, including the observation that the number of shots
13   fired were unknown 69.04% of the time. Without a similar table for the NRA or Factiva
14   studies, this Court cannot ascertain the number of shots fired in each incident, the number
15   of times a homeowner possessed a LCM, the number of times the number of shots fired
16   were unknown, whether the homeowner was unharmed, or the number of intruders.
17         Allen’s 2.2 shot average is suspect for larger reasons. The whole statistical
18   exercise is based on hearsay (anecdotes) upon hearsay news reporting, rather than police
19   investigatory reports. A database of news articles lacks the usual indicia of accuracy and
20   reliability of admissible evidence. According to fifteen national polls conducted by non-
21   law enforcement agencies, there may be from 760,000 defensive handgun uses to
22
23
24   105
         Exh. A at ¶18.
25
     106
         Id. at ¶ 19.
     107
         Allen Depo. Jan. 12, 2021 at 119:10-18 (“Q. So numerically speaking, inclusion of
26   incidents where the number is zero would tend to drag the average number of shots fired
27   down; would you tend to agree with that? A. So it includes those with zero. That’s
     correct. Q. Okay. And have you ever looked at the average number of shots fired when
28   shots were fired? A. No.”).
                                                  30
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 1   3,600,000 defensive uses each year.108 Compared to the comprehensive details given for
 2   her study on mass shooting events, the NRA and Factiva studies are curiously lacking in
 3   depth and breadth and causes the Court to deeply discount her opinion.
 4         The Court is aware of its obligation to act as a gatekeeper to keep out junk science
 5   where it does not meet the reliability standard of Daubert v. Merrell Dow
 6   Pharmaceuticals, Inc., 509 U.S. 579 (1993) and Federal Rule of Evidence 702.109 In a
 7   bench trial, the relevancy bar is low and Rule 702 is to be applied with a liberal thrust
 8   favoring admission.110 While opinions and evidence may have been deemed admissible,
 9   in some cases, the evidence has been given very little weight or no weight at all. This is
10   the fact finder’s role. 111 “Challenges that go to the weight of the evidence are within the
11   province of a fact finder . . . .” 112 So, while questionable expert testimony was admitted, it
12   has now been weighed in light of all of the evidence.
13         In assessing expert witness opinion, a court looks to see whether the opinion given
14   is newly made or whether it grew naturally out of research conducted outside of the
15   litigation. 113 Bias may be evident, according to legal authorities, where the expert forms
16
17
18   108
         Plaintiffs’ Exh. 10-10, John R. Lott, Jr., More Guns, Less Crime 3d. (2010), at 12.
19
     109
         See Estate of Barabin v. AstenJohnson, Inc., 740 F.3d 457, 463 (9th Cir.2014),
     overruled on other grounds, United States v. Bacon, 976 F.3d 766 (9th Cir. 2020) (en
20   banc) (duty falls squarely upon the district court to act as gatekeeper to exclude junk
21   science).
     110
         Messick v. Novartis Pharm. Corp., 747 F.3d 1193, 1196 (9th Cir. 2014).
22   111
         Primiano v. Cook, 598 F.3d 558, 568 (9th Cir. 2010) (though opinion of doctor is
23   admitted, jury may reject the opinion); see also, e.g., United States v. Vallejo, 237 F.3d
     1008, 1021 (9th Cir. 2001) (admissibility of expert opinion different than weight to be
24   accorded).
25
     112
         City of Pomona v. SQM North Am. Corp., 750 F.3d 1036, 1044 (9th Cir. 2014).
     113
         Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311, 1317 (9th Cir. 1995) (after
26   remand) (“One very significant fact to be considered is whether the experts are proposing
27   to testify about matters growing naturally and directly out of research they have
     conducted independent of the litigation, or whether they have developed their opinions
28   expressly for purposes of testifying.”); Cabrera v. Cordis Corp., 134 F.3d 1418, 1422
                                                   31
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 1   an opinion without peer-reviewed scientific support or before examining sufficient
 2   data. 114 Bias may also be evident where an expert opinion is formed solely for the
 3   purposes of litigation. Here, the Court is mindful that, “[f]or scientific evidence to be
 4   admissible, the proponent must show the assertion is ‘derived by a scientific method,’”
 5   and “[o]pinion based on ‘unsubstantiated and undocumented information is the antithesis
 6   of scientifically reliable expert opinion.’ “The court must assess the expert's reasoning or
 7   methodology, using as appropriate criteria such as testability, publication in peer-
 8   reviewed literature, known or potential error rate, and general acceptance.”115 Methods
 9   and procedures must be followed and undisciplined speculation is not science.116
10         “To aid courts in exercising this gatekeeping role, the Supreme Court has
11   suggested a non-exclusive and flexible list of factors that a court may consider when
12   determining the reliability of expert testimony, including: (1) whether a theory or
13   technique can be tested; (2) whether it has been subjected to peer review and publication;
14   (3) the known or potential error rate of the theory or technique; and (4) whether the
15   theory or technique enjoys general acceptance within the relevant scientific
16   community.” 117 Allen’s study relies on unverified, uncorroborated second or third hand
17   anecdotal information. Normally, “a witness may testify to a matter only if evidence is
18   introduced sufficient to support a finding that the witness has personal knowledge of the
19
20
21
22
23   (9th Cir.1998) (expert's development of opinion expressly for purposes of testifying is a
     significant consideration in evaluating opinion).
24   114
         B. Black & P. Lee, Expert Evidence (West 1997), Ch. 4(IV)(B), at 147.
     115
25       Id.
     116
         Daubert, 509 U.S. at 589–90. (“The subject of an expert’s testimony must be
26   ‘scientific . . . knowledge.’ The adjective ‘scientific’ implies a grounding in the methods
27   and procedures of science. Similarly, the word ‘knowledge’ connotes more than
     subjective belief or unsupported speculation.”).
28   117
         Messick, 747 F.3d at 1197 (quoting Daubert, 509 U.S. at 592–94).
                                                  32
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 1   matter.”118 Assuming its relevance in the first instance for Bruen purposes, the statistical
 2   analysis has minimal indicia of accuracy or reliability.
 3         In the end, Allen opines that an average of 2.2 shots are fired in self-defense gun
 4   scenarios and only .3% of such incidents involve more than 10 shots fired. Yet, even .3%
 5   is a lot in terms of actual times a citizen needs to fire his gun in self-defense. Using the
 6   estimate from the Centers for Disease Control mentioned earlier of 500,000 to 3,000,000
 7   times per year nationally, and extrapolating the .3% where more than 10 shots were fired
 8   (per Allen’s report), would mean defensive gun uses of more than 10 shots happen
 9   between 1,500 and 9,000 times, every year (based on the CDC annual number of
10   defensive gun uses cited on the website Allen cited and relied on 119).
11         D. Magazines Holding More Than 10 Rounds Are Not Dangerous and Unusual
12         Taking another tack, the State reframes the “dangerous and unusual” test as a
13   “dangerous or unusual” test and then objects that magazines able to hold more than 10
14   rounds are unusually dangerous. As the Court has stated, all guns and ammunition are
15   dangerous.120 However, magazines holding more than 10 rounds are not both “dangerous
16   and unusual,” which is the Supreme Court’s test. So-called large capacity magazines
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18
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20
21
22
23
     118
         Federal Rule of Evidence 602.
     119
         In her Supplemental Declaration, at footnote 4, Dkt. 118-1, Allen cites a Heritage
24   Foundation online visual database:
25   https://datavisualizations.heritage.org/firearms/defensive-gun-uses-inthe-us. If one looks
     at the Heritage Foundation description of its visual database research, one would see that
26   it acknowledges the CDC report that Americans use their firearms defensively between
27   500,000 and 3,000,000 million times each year.
     120
         Staples, 511 U.S. at 611 (“Despite their potential for harm, guns generally can be
28   owned in perfect innocence.”).
                                                   33
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 1   banned in California are commonly-owned by law-abiding citizens across the nation 121
 2   and number in the millions. 122
 3         E. The Most-Useful-for-Military-Service Nostrum
 4         The State argues, and some courts have reasoned, that magazines holding more
 5   than 10 rounds are “most useful in military service” and therefore, can be banned.123 The
 6   Supreme Court said no such thing. 124 Caetano addresses this question and says, “Heller
 7   rejected the proposition ‘that only those weapons useful in warfare are protected.’”125
 8   Heller was explaining United States v. Miller.126 In Miller, the Supreme Court applied a
 9   reasonable-relationship-to-militia-use test to a short-barreled shotgun, asking whether the
10   shotgun would have a reasonable relationship to the preservation or efficiency of a well-
11   regulated militia. Finding none, it decided the Second Amendment did not guarantee the
12   right to keep that particular firearm.127 Miller’s realm of Second Amendment protection
13   encircled a firearm if it was reasonably related to militia use. This “reasonably-related”
14   construct received a nod again in Lewis v. U.S.,128 where the Supreme Court sang Miller’s
15
16
17
     121
         “It is indisputable in the modern United States that magazines of up to thirty rounds
     for rifles and up to twenty rounds for handguns are standard equipment for many popular
18   firearms.” Kopel, supra, The History of Firearm Magazines, at 874, Declaration of Anna
19   M. Barvir in Support of Plfs.’ Suppl. Br., Exh. 39, Dkt. 132-6, at 125.
     122
         See nn. 28-31, supra, and accompanying text.
20   123
         See, e.g., Hanson v. D.C., No. CV 22-2256-RC, 2023 WL 3019777, at *28–29
21   (D.D.C. Apr. 20, 2023) (“LCMs are not covered by the Second Amendment because they
     are most useful in military service.”).
22   124
          See, e.g., Bevis v. City of Naperville, No. 22 C 4775, 2023 U.S. Dist. LEXIS 27308, at
23   *22 (N.D. Ill. Feb. 17, 2023) (“Relatedly, the Supreme Court has unequivocally
     dismissed the argument that ‘only those weapons useful in warfare are protected.’ To the
24   extent that the Seventh Circuit classified the weapon as either ‘civilian’ or ‘military,’ the
25   classification has little relevance.”) (citation omitted).
     125
         Caetano, 577 U.S. at 412 (quoting Heller, 554 U.S. at 624–25).
26   126
         307 U.S. 174 (1939)
27
     127
         Id. (“Certainly it is not within judicial notice that this weapon is any part of the
     ordinary military equipment or that its use could contribute to the common defense.”).
28   128
         445 U.S 55, 65 n.8 (1980).
                                                  34
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 1   refrain, “the Second Amendment guarantees no right to keep and bear a firearm that does
 2   not have ‘some reasonable relationship to the preservation or efficiency of a well
 3   regulated militia.’” There was no undercutting of Miller in the Heller or Bruen decisions.
 4   Rather, Heller embraced Miller and said “[w]e therefore read Miller to say only that the
 5   Second Amendment does not protect those weapons not typically possessed by law-
 6   abiding citizens for lawful purposes, such as short-barreled shotguns. That accords with
 7   the historical understanding of the scope of the right.” 129 And Bruen “quoted, explained,
 8   re-affirmed, and then applied” Miller.130 Heller took the already expansive zone of
 9   protection for weapons that could be used by the militia and focused on the core use of
10   firearms for self-defense.
11         In other words, Heller made the logical connection between weapons commonly
12   possessed by law-abiding citizens for lawful purposes that would also be useful, if
13   necessary, for military purposes, i.e., in the militia. Since Miller, the Supreme Court has
14   enlarged the breadth of firearms protected by the Second Amendment to include
15   commonly owned firearms useful for the core right of self-defense and other lawful
16   purposes like hunting, sporting, and target shooting. Until the Supreme Court clearly
17   says otherwise, commonly owned weapons that are useful for war and are reasonably
18   related to militia use are also fully protected, so long as they are not useful solely for
19   military purposes. Firearms with magazines holding more than 10 rounds are such
20   reasonably-related arms. Even Miller understood the Constitution to protect the
21   possession of ammunition. For the militia system to function, “[t]he possession of arms
22   also implied the possession of ammunition, and the authorities paid quite as much
23   attention to the latter as to the former.” 131 All considered, the best reading of “arms”
24
25
     129
         Heller, 554 U.S. at 625.
26   130
         United States v. Saleem, No. 3:21-cr-00086-FDW-DSC, 2023 WL 2334417, at *7
27   (W.D.N.C. Mar. 2, 2023).
     131
         Miller, 307 U.S. at 180 (quoting The American Colonies In The 17th Century, Osgood,
28   Vol. 1, ch. XIII).
                                                   35
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 1   includes magazines. 132
 2   III.   BRUEN AND THE MAGAZINE CAPACITY LIMIT
 3          Plaintiffs challenge § 32310, which prohibits manufacturing, importing, keeping
 4   for sale, offering for sale, giving, lending, buying, receiving or possessing a magazine
 5   able to hold more than 10 rounds. For simple possession of a magazine holding more
 6   than 10 rounds, the crime is an infraction under § 32310(c). It is a much more serious
 7   crime to acquire a magazine holding more than 10 rounds in California by importing,
 8   buying, borrowing, receiving, or manufacturing. These acts may be punished as a
 9   misdemeanor or a felony under § 32310(a). Under the subsection’s provision, “or
10   imprisonment pursuant to subdivision (h) of Section 1170,” punishment may be either a
11   misdemeanor or a felony.
12          This Court concludes, once again, that manufacturing, importing, selling, giving,
13   loaning buying, receiving, acquiring,133 possessing, storing, or using commonly-owned
14   magazines capable of holding more than 10 rounds for self-defense at home or in public
15   is protected by the Second Amendment. Whether 50-round, 75-round, or 100-round
16   drum magazines are constitutionally protected is a different question because they may be
17   much less common and may be unusual.
18          A.    Remand for Bruen Review
19          This case was remanded from the United States Court of Appeals for the Ninth
20   Circuit in order to consider the challenged laws under the recent Supreme Court decision
21
22
23
     132
         Jackson v. City & Cty. of San Francisco, 746 F.3d 953, 968 (9th Cir. 2014) (“Because
     restrictions on ammunition may burden the core Second Amendment right of self-defense
24   and the record contains no persuasive historical evidence suggesting otherwise, section
25   613.10(g) regulates conduct within the scope of the Second Amendment.”).
     133
         “This acquisition right is protected as an ‘ancillary right’ necessary to the realization
26   of the core right to possess a firearm for self-defense.” Renna v. Becerra, No. 20-cv-
27   02190-DMS (DEB), 2021 WL 1597933, at *6 (S.D. Cal. Apr. 23, 2021) (quoting
     Teixeira v. County of Alameda, 873 F.3d 670, 677 (9th Cir. 2017)) (en banc) (core
28   Second Amendment right “wouldn’t mean much” without ability to acquire arms).
                                                  36
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 1   in Bruen. Under Bruen, the government must affirmatively prove that its firearm
 2   regulation is part of a constitutional historical tradition. It is the same text, history, and
 3   tradition standard the Court used in Heller and McDonald. What is different is that the
 4   old means-end, interest balancing, tiers-of-scrutiny test is no longer viable. 134 The State
 5   now has a second chance to defend its large capacity magazine ban and must do so
 6   applying the Bruen test.
 7         Bruen says,
 8                When the Second Amendment’s plain text covers an
                  individual’s conduct, the Constitution presumptively protects
 9
                  that conduct. The government must then justify its regulation
10                by demonstrating that it is consistent with the Nation’s
                  historical tradition of firearm regulation. Only then may a
11
                  court conclude that the individual’s conduct falls outside the
12                Second Amendment’s “unqualified command.” 135
13
     And Bruen confirms, once again, that the Second Amendment applies to modern arms.
14
     “Thus, even though the Second Amendment’s definition of ‘arms’ is fixed according to
15
     its historical understanding, that general definition covers modern instruments that
16
     facilitate armed self-defense,” like magazines able to hold more than 10 rounds.136
17
                 i.   Already Determined: No Historical Pedigree
18
           This Court previously determined that a ban on magazines able to hold more than
19
     10 rounds has no historical pedigree. Detachable magazines were invented in the late
20
     19th Century. 137 In 1990, New Jersey introduced the first ban on detachable magazines,
21
22
23
     134
         Baird v. Bonta, 2023 WL 5763345, *5 (9th Cir. Sept. 7, 2023) (“In Bruen, the
     Supreme Court expressly rejected the use of such ‘means-end scrutiny in the Second
24   Amendment context’ and described the two-step approach as ‘one step too many.’”).
25
     135
         142 S. Ct. at 2129–30 (emphasis added).
     136
         Id. at 2132.
26   137
         “In 1879, Remington introduced the first ‘modern’ detachable rifle magazine. In the
27   1890s, semiautomatic pistols with detachable magazines followed. During WWI,
     detachable magazines with capacities of 25 to 32-rounds were introduced.” Plaintiff’s
28   Exh. 2 (Stephen Helsley Report), at 4.
                                                    37
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 1   initially imposing a 15-round limit and later a 10-round limit. California put its ban in
 2   place in the year 2000. A historical tradition of magazine bans, this is not.
 3         Before Bruen, the State unpersuasively argued that its magazine capacity
 4   restriction was analogous to a handful of state machinegun firing-capacity regulations
 5   from the 1920’s and 1930’s and one District of Columbia law from 1932—a law the
 6   Supreme Court ignored while dismantling the District of Columbia’s handgun ban in
 7   Heller. That argument remains unpersuasive today. That was pre-Bruen. Bruen invites
 8   a look farther back into the Nation’s history.
 9              ii.   The State Asked for Time for Discovery
10         Because the Bruen approach places the burden upon the government to justify its
11   firearm restrictions by demonstrating that they are consistent with the Nation’s historical
12   tradition of firearm regulation as understood at the founding, and because judicial review
13   under the Bruen standard is in its infancy, the State has been given generous time and
14   leeway to satisfy its new burden. The State’s experts have been studying historic firearm
15   regulations for more than 20 years.138 This Court has reviewed all of the declarations of
16   the State’s experts and historians as well as many of their cited sources, and finds no
17   support for the State’s ban.
18
19
20   138
        The State’s expert, professor Robert Spitzer, has studied gun policy for 30 years. See
21   Decl. of Robert Spitzer, Dkt. 137-8 (“Spitzer Decl.”), at ¶ 5. The State’s expert,
     professor Saul Cornell, said that he has been studying gun regulations for 20 years. That
22   was in 2017. See Saul Cornell, Five Types of Gun Laws the Founding Fathers Loved,
23   Salon (Oct. 22, 2017, 7:29 a.m.), https://www.salon.com/2017/10/22/five-types-of-gun-
     laws-the-founding-fathers-loved_partner/ [https://perma.cc/73SL-VAKV]. Ten years
24   ago, Mark Anthony Frasetto compiled a list of over 1,000 historical gun laws spanning
25   the years 1607 to 1934 and available on the Social Science Research Network.
     [https://perma.cc/Q2L8-SW6U]. His law collection was not unknown. It was described
26   in detail in 2017 by professor Spitzer in his article Gun Law History in the United States
27   and Second Amendment Rights, 80 L. & Contemp. Probs. 55 (2017), and included in
     professor Cornell’s Compendium of Works cited in his Declaration, Dkt. 154-3, at 1707–
28   33.
                                                  38
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 1             iii.   Some Text, History, and Tradition Analysis is Already Done
 2         Some of the time spent analyzing text, history, and tradition, has already been done
 3   by the Supreme Court. To begin, “the ‘textual elements’ of the Second Amendment’s
 4   operative clause—‘the right of the people to keep and bear Arms, shall not be
 5   infringed’—‘guarantee the individual right to possess and carry weapons in case of
 6   confrontation.’” 139 Further, “the right to ‘bear arms’ refers to the right to ‘wear, bear, or
 7   carry ... upon the person or in the clothing or in a pocket, for the purpose ... of being
 8   armed and ready for offensive or defensive action in a case of conflict with another
 9   person.’”140 The Supreme Court explains that the terms “keep” and “bear” mean that the
10   Second Amendment’s text protects a citizen’s right to “‘keep’ firearms in their home, at
11   the ready for self-defense,” and to carry arms on one’s person in and outside the home in
12   case of confrontation.141 As to the types of weapons the Second Amendment protects,
13   Bruen echoes Heller, McDonald, Caetano, Miller, and Blackstone, pronouncing that it
14   “protects the possession and use of weapons that are ‘in common use at the time.’”142
15         In this case, Plaintiffs are law-abiding citizens who want to possess (or keep) and
16   carry (or bear), magazines able to hold more than 10 rounds commonly-owned for lawful
17   purposes. Plaintiffs’ proposed conduct is covered by the plain text of the Second
18   Amendment. Under the plain text, the State’s statute infringes on the constitutional rights
19   of American citizens. Therefore, Plaintiffs have met their burden of showing that the
20   prohibited magazines fall within the Second Amendment’s text.
21         Bruen next instructs courts to assess whether the initial conclusion is confirmed by
22   the historical understanding of the Second Amendment. Bruen has already confirmed
23   that the Second Amendment protects an individual right to armed self-defense. It repeats
24
25
26   139
         Bruen, 142 S. Ct. at 2134 (quoting Heller, 554 U.S. at 592).
27
     140
         Bruen, 142 S. Ct. at 2134 (quoting Heller, 554 U.S. at 584).
     141
         Id.
28   142
         Id. at 2128 (citations omitted).
                                                    39
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 1   Heller’s lesson to not engage in means-end scrutiny, because, “[a] constitutional
 2   guarantee subject to future judges’ assessments of its usefulness is no constitutional
 3   guarantee at all.”143 After all, “[t]he Second Amendment ‘is the very product of an
 4   interest balancing by the people’ and it ‘surely elevates above all other interests the right
 5   of law-abiding, responsible citizens to use arms’ for self-defense. It is this balance—
 6   struck by the traditions of the American people—that demands our unqualified
 7   deference.” 144
 8         B.     Bruen’s Guidelines for Historical Inquiry
 9         For conducting a historical inquiry, Bruen identifies a number of guidelines. First,
10   “when a challenged regulation addresses a general societal problem that has persisted
11   since the 18th century, the lack of a distinctly similar historical regulation addressing that
12   problem is relevant evidence that the challenged regulation is inconsistent with the
13   Second Amendment.” 145 Second, “if earlier generations addressed the societal problem,
14   but did so through materially different means, that also could be evidence that a modern
15   regulation is unconstitutional.” 146 Third, “if some jurisdictions actually attempted to
16   enact analogous regulations during this timeframe, but those proposals were rejected on
17   constitutional grounds, that rejection surely would provide some probative evidence of
18   unconstitutionality.”147 Fourth, “cases implicating unprecedented societal concerns or
19   dramatic technological changes may require a more nuanced approach.” 148 Fifth, “[w]hen
20   confronting such present-day firearm regulations, this historical inquiry that courts must
21   conduct will often involve reasoning by analogy.”149 “Determining whether a historical
22
23
24   143
         Id. at 2129 (quoting Heller, 554 U.S. at 634).
25
     144
         Bruen, 142 S. Ct. at 2131 (quoting Heller, 554 U.S. at 635).
     145
         Bruen, 142 S. Ct. at 2131.
26   146
         Id.
     147
27       Id.
     148
         Id. at 2132.
28   149
         Id.
                                                   40
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 1   regulation is a proper analogue for a distinctly modern firearm regulation requires a
 2   determination of whether the two regulations are ‘relevantly similar.’” 150 Bruen notes,
 3                analogical reasoning under the Second Amendment is neither a
                  regulatory straightjacket nor a regulatory blank check. On the
 4
                  one hand, courts should not “uphold every modern law that
 5                remotely resembles a historical analogue,” because doing so
                  “risks endorsing outliers that our ancestors would never have
 6
                  accepted.” On the other hand, analogical reasoning requires
 7                only that the government identify a well-established and
                  representative historical analogue, not a historical twin. So
 8
                  even if a modern-day regulation is not a dead ringer for
 9                historical precursors, it still may be analogous enough to pass
                  constitutional muster.151
10
11   In surveying American history, the task is to stay within Bruen’s guardrails. As to the
12   road ahead, it is a road back to 1791.
13              i.   The Significant Time Period—1791 to 1868
14         Bruen teaches the most significant historical evidence comes from 1791, and
15   secondarily 1868. For the Second Amendment (and other protections in the Bill of
16   Rights), “Constitutional rights are enshrined with the scope they were understood to have
17   when the people adopted them.” 152 The Second Amendment was adopted in 1791.
18   “[W]e have generally assumed that the scope of the [Second Amendment] protection
19   applicable to the Federal Government and States is pegged to the public understanding of
20
21
22
     150
23       Id.
     151
         Id. at 2133.
24   152
         Id. at 2136 (quoting Heller, 554 U.S. at 634–35); cf. Kennedy v. Bremerton, 142 S. Ct.
25   2407, 2428 (2022) (“[T]his Court has instructed that the Establishment Clause must be
     interpreted by reference to historical practices and understandings. The line . . . has to
26   accord with history and faithfully reflect the understanding of the Founding Fathers.”)
27   (cleaned up); Riley v. California, 573 U.S. 373, 403 (2014) (“Our cases have recognized
     that the Fourth Amendment was the founding generation’s response to the reviled
28   ‘general warrants’ and ‘writs of assistance’ of the colonial era.”).
                                                 41
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 1   the right when the Bill of Rights was adopted in 1791.”153 Consequently, whatever
 2   evolving standards of gun regulation the state legislature thought was good policy in the
 3   year 2000 (when it decided 11 rounds is not well-suited for a person to have in a gun) or
 4   the year 2016 (when it was amended by Proposition 63), or today, is not the test for
 5   constitutional scrutiny.
 6         Courts are to “afford greater weight to historical analogues more contemporaneous
 7   to the Second Amendment’s ratification.”154 British sources pre-dating the Constitution
 8   are not particularly instructive because the American Revolution was a rejection of
 9   British rule. Sources post-enactment are also less helpful.155 “[T]o the extent later
10   history contradicts what the text says, the text controls . . . . Thus, post-ratification
11   adoption or acceptance of laws that are inconsistent with the original meaning of the
12   constitutional text obviously cannot overcome or alter that text.” 156 Late 19th century
13   evidence is not particularly instructive, “because post-Civil War discussions of the right
14   to keep and bear arms ‘took place 75 years after the ratification of the Second
15   Amendment, they do not provide as much insight into its original meaning as earlier
16   sources.’”157 Even so, evidence from the time period enforces the claim that the right to
17
18
19
     153
         Bruen, 142 S. Ct. at 2137.
     154
         Rahimi, 61 F.4th at 456; contra Nat’l Rifle Ass’n v. Bondi, 61 F.4th 1317, 1323 (11th
20   Cir. 2023) (“For most cases, the Fourteenth Amendment Ratification Era understanding
21   of the right to keep and bear arms will differ from the 1789 understanding. And in those
     cases, the more appropriate barometer is the public understanding of the right when the
22   States ratified the Fourteenth Amendment and made the Second Amendment applicable
23   to the States.”).
     155
         Bruen, 142 S. Ct. at 2136 (“Similarly, we must also guard against giving
24   postenactment history more weight than it can rightly bear.”).
25
     156
         Id. at 2137 (citations omitted) (cleaned up).
     157
         Id. (quoting Heller, 554 U.S. at 614). There is little reason to rely on laws from the
26   later part of the 1800’s or the 1900’s rather than ones put into effect at the time of the
27   founding in view of Bruen’s central question about the meaning of the Second
     Amendment as understood by the people who adopted it. See Worth v. Harrington, No.
28   21-cv-01348-KMM-LIB, 2023 WL 2745673, at *12 (D. Minn. Mar. 31, 2023) (“But the
                                                    42
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 1   keep and bear arms continued to be regarded as a fundamental right. The Supreme Court
 2   gauged the most explicit evidence appeared in the Freedmen’s Bureau Act of 1866. “The
 3   most explicit evidence of Congress’ aim,” according to McDonald, “appears in § 14 of
 4   the Freedmen’s Bureau Act of 1866, which provided that ‘the right . . . to have full and
 5   equal benefit of all laws and proceedings concerning personal liberty, personal security
 6   [and] . . . including the constitutional right to bear arms, shall be secured to and enjoyed
 7   by all the citizens.’”158 McDonald points to one senator’s description of the right to bear
 8   arms for one’s defense as an “indispensable safeguard of liberty.” McDonald writes,
 9                       “Every man . . . should have the right to bear arms
                         for the defense of himself and family and his
10
                         homestead. And if the cabin door of the freedman
11                       is broken open and the intruder enters for purposes
                         as vile as were known to slavery, then should a
12
                         well-loaded musket be in the hand of the occupant
13                       to send the polluted wretch to another world,
                         where his wretchedness will forever remain
14
                         complete.”159
15
16   Thus, it can be said that, even at the time of the Fourteenth Amendment, the right to keep
17   and bear guns was a necessary right to preserve. “In sum, it is clear that the Framers and
18
19
20   Commissioner offers no persuasive reason why this Court should rely upon laws from the
21   second half of the nineteenth century to the exclusion of those in effect at the time of the
     founding in light of Bruen’s warnings not to give post-Civil War history more weight
22   than it can rightly bear.”); Firearms Pol’y Coalition, Inc. v. McCraw, No. 4:21-cv-01245-
23   P, 2022 WL 3656996, at *11 (N.D. Tex. Aug. 25, 2022); United States v. Harrison, No.
     CR 22-00328-PRW, 2023 WL 1771138, at *8 (W.D. Okla. Feb. 3, 2023) (quoting Bruen,
24   142 S. Ct. at 2136 (Barrett, J., concurring) (“[T]oday’s decision should not be understood
25   to endorse freewheeling reliance on historical practice from the mid-to-late 19th century
     to establish the original meaning of the Bill of Rights.”)); contra Hanson, No. CV 22-
26   2256-RC, 2023 WL 3019777, at *16 (“In this case, it is appropriate to apply 20th century
27   history to the regulation at issue.”).
     158
         McDonald, 561 U.S. at 773.
28   159
         McDonald, 561 U.S. at 775-76 (citation omitted).
                                                   43
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 1   ratifiers of the Fourteenth Amendment counted the right to keep and bear arms among
 2   those fundamental rights necessary to our system of ordered liberty.”160
 3         Bruen and Heller have already considered some of the historical firearm statutes.
 4   Consequently, we know that colonial laws restricting handguns that were dangerous and
 5   unusual in the 1690’s do not justify modern laws restricting handguns. The Court
 6   explains that even if handguns were considered “dangerous and unusual” in the 1690’s, it
 7   would not matter because handguns are common today. As Bruen puts it,
 8                 Whatever the likelihood that handguns were considered
                   “dangerous and unusual” during the colonial period, they are
 9
                   indisputably in “common use” for self-defense today. They are,
10                 in fact, “the quintessential self-defense weapon.” Thus, even if
                   these colonial laws prohibited the carrying of handguns because
11
                   they were considered “dangerous and unusual weapons” in the
12                 1690s, they provide no justification for laws restricting the
                   public carry of weapons that are unquestionably in common
13
                   use.
14
15         C.      The State’s List of Relevant Laws
16         To aid in the task of looking for a national “historical tradition of firearm
17   regulation,” the State was directed to create a list of relevant laws regulating arms dating
18   from the time of the Second Amendment (1791) to 20 years after the Fourteenth
19   Amendment (1868 + 20). This was not an acknowledgement that 20 years after the
20   Fourteenth Amendment is a relevant period. Twenty years after the Fourteenth
21   Amendment is an admittedly arbitrary limit and probably includes laws too late to shed
22   much light.
23         In any event, the State went far beyond. The State produced a list of 316 laws
24   covering 550 years—from 1383 to 1933.161 Many of the entries are not relevant because
25
26
27
     160
        McDonald, 561 U.S. at 778.
     161
        See Def’s Survey of Relevant Statutes, Dkt. 139-1 to 3 (citations to the individual law
28   entries herein are indicated by brackets [--]).
                                                  44
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 1   they came much earlier or later than the most significant time period of 1791–1868. The
 2   first fourteen listed laws pre-date the Second Amendment.162 On the other end, the last
 3   225 laws post-date the adoption of the Fourteenth Amendment. Also, two-thirds of the
 4   State’s list (199 laws) are restrictions on use—not on possession or acquisition. Here, the
 5   magazine ban prohibits possession, manufacturing, giving, lending, offering for sale, etc.,
 6   rather than regulating the use or manner of carrying ammunition or its magazines.
 7   Twenty-two tax laws are included in the State’s historical list, yet the law challenged here
 8   imposes no tax on magazines. The State’s historical list also includes, surprisingly, 38
 9   laws that applied only to particular groups, such as slaves, Blacks, or Mulattos. Those
10   laws are not relevant to the magazine prohibition challenged in this case. “And
11   Founding-era statutes that disarmed groups of persons who governments thought might
12   be dangerous because of their race or religion were not considered analogous to modern
13   carry prohibitions on released felons also thought to be dangerous: ‘any such analogy
14   would be far too broad.’”163 Even if they were, this Court would give such
15   discriminatory laws little or no weight.
16
17
18
19
20   162
         The State includes in its list a concealed carry statute in East New Jersey from 1686
21   which treated pocket pistols as “unusual” weapons. [6]. Bruen bulldozed that citation.
     The East New Jersey statute was too old and too different. Bruen found little there to
22   commend a present-day ban on carrying pistols. The statute prohibited only the
23   concealed carrying of pocket pistols; it did not prohibit possession or public carrying.
     Bruen, 142 S. Ct. at 2143. The statute did not apply to all pistols, much less all firearms.
24   Moreover, even if pocket pistols were uncommon in 1686 in East New Jersey, they were
25   commonly used by the time of the founding. Id. at 2144 and n.13. The statute did not
     survive the merger of East and West New Jersey in 1702. Consequently, the Court made
26   short work of the history summing it up, “[a]t most eight years of history in half a Colony
27   roughly a century before the founding sheds little light on how to properly interpret the
     Second Amendment.” Id. at 2144.
28   163
         Baird, 2023 WL 5763345 at *8 (citations omitted).
                                                  45
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 1   IV.   IN AMERICA PEOPLE WERE GENERALLY FREE TO CARRY
 2         FIREARMS PUBLICLY AND PEACEABLY FROM 1791 to 1868
 3         A.     Traditions
 4         The history and tradition of the United States is a tradition of widespread gun
 5   ownership and expertise. Bruen says, “those who sought to carry firearms publicly and
 6   peaceably in antebellum America were generally free to do so.”164 Thomas Jefferson
 7   pointed out that our soldiers were good shots because they had practiced with guns since
 8   they were children. Jefferson wrote,
 9                I inclose you a list of the killed, wounded, and captives of the
                  enemy from the Commencement of hostilities at Lexington in
10
                  April 1775, until November 1777. since which there has been
11                no event of any consequence ... I think that upon the whole it
                  has been about one half the number lost by them. In some
12
                  instances more, but in others less. This difference is ascribed to
13                our superiority in taking aim when we fire; every soldier in our
                  army having been intimate with his gun from his infancy. 165
14
15   Then, having firearms was commonplace. Carrying firearms was accepted. Proficiency
16   with firearms was encouraged. Readiness with firearms was required. Then, as now,
17   terrorizing with a firearm or carrying a firearm with the intent to assault another was
18   punishable. But, “[n]one of the [] historical limitations on the right to bear arms . . .
19   operated to prevent law-abiding citizens with ordinary self-defense needs from carrying
20   arms in public for that purpose.”166
21         Notwithstanding having significant time to do so, the State has identified no
22
23
24   164
         142 S. Ct. at 2146.
25
     165
         Letter from Thomas Jefferson, to Giovanni Fabbroni, Founders Online, National
     Archives (June 8, 1778), https://founders.archives.gov/documents/Jefferson/01-02-02-
26   0066 [https://perma.cc/8VTV-K9HB]; [Original source: The Papers of Thomas Jefferson,
27   vol. 2, 1777 – 18 June 1779, ed. Julian P. Boyd. Princeton: Princeton University Press,
     1950, pp. 195–98] (emphasis added).
28   166
         Bruen, 142 S. Ct. at 2150.
                                                   46
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 1   historical statute or national tradition of firearm regulation so broad in its coverage or so
 2   far reaching in its effect as its large capacity magazine ban. So, what are the traditions of
 3   firearm regulation evidenced by the State’s law list?
 4            Historical regulations are considered chronologically, “mindful that greater weight
 5   attaches to laws nearer in time to the Second Amendment’s ratification.”167 The Court
 6   has reviewed every law cited in the State’s list. It has sometimes searched for the actual
 7   text of a cited law rather than the parties’ summary in order to understand any legal
 8   nuance. It has reviewed the laws with a view to understanding the tradition of all the
 9   states and their contexts. For example, as the nation expanded old states became interior
10   states and new states became frontier states. Frontier states often had different social and
11   security concerns than did the interior of the new nation. The Court sought to understand
12   how states responded to new technological developments in ammunition, revolvers,
13   repeaters, and high-capacity, fast-shooting, lever-action rifles.
14            The State’s experts opine that gun laws were plentiful and widespread and firearm
15   regulation was the norm. But, if the test were to look at gun laws with that level of
16   generality, no gun law would ever fail scrutiny and Heller, McDonald and Bruen could
17   not have been decided as they were. Furthermore, as will be shown, it is an exaggeration.
18   The State also says regulations on dangerous or unusual weapons existed throughout
19   American history. By “weapons,” the State means non-firearms.
20            Relevantly similar regulations are firearm prohibitions—not bladed or melee
21   weapon regulations. And neither “dangerous or unusual” nor “unusually dangerous” is
22   the test, although the State cannot point to an outright prohibition on even unusual or
23   unusually dangerous firearms until Alabama’s 1868 prohibition on the dangerous and
24   unusual rifle-walking cane. [87]
25            Because the State cannot find a historic regulation of firearms, it turns to the
26
27
28   167
           Rahimi, 61 F.4th at 456.
                                                     47
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 1   historic regulations of weapons, whether bladed weapons, melee weapons, blunt
 2   weapons, or leaded weapons. Yet, the Supreme Court does not look to knife laws when
 3   reviewing a restriction about guns. Bruen teaches that a state’s burden is to identify a
 4   historical tradition of firearm regulation, not a tradition of knife regulation. Underscoring
 5   the importance of its words, three different times Bruen repeats the specific phrase
 6   “firearm regulation,” as in the following instances: (1) “Rather, the government must
 7   demonstrate that the regulation is consistent with this Nation’s historical tradition of
 8   firearm regulation;168 (2) “The government must then justify its regulation by
 9   demonstrating that it is consistent with the Nation’s historical tradition of firearm
10   regulation;” 169 and (3) “[T]he burden falls on respondents to show that New York’s
11   proper-cause requirement is consistent with this Nation’s historical tradition of firearm
12   regulation.”170 In contrast, the Bruen majority opinion did not mention bowie knives at
13   all. The Supreme Court was not interested in traditions of knife regulation or melee
14   regulation. Even in the dissent, bowie knife laws were hardly mentioned. Consequently,
15   when the State asserts, “weapons restrictions proliferated,” it misses the mark by
16   referring to non-firearm weapon restrictions or concealed carrying restrictions.171
17         During the most important period of history, there were relatively few firearm
18   regulations. 172 This conclusion can be drawn from inspecting the State’s historic law list,
19   and is confirmed by at least one historian: “Between 1607 and 1815 . . . the colonial and
20
21
22   168
         Bruen, 142 S. Ct. at 2126 (emphasis added).
23
     169
         Id. at 2130 (emphasis added).
     170
         Id. at 2135 (emphasis added).
24   171
         Def’s Br. in Resp., Dkt. 142, at 20.
25
     172
         It is true that there were laws criminalizing the use of guns for criminal acts such as
     carrying a gun with intent to assault another, or displaying a gun in a threatening manner.
26   These were crimes of violence, not crimes of possession. California, as it should, has
27   similar laws today, such as California Penal Code § 245(a)(2) & (3) (assault with a
     deadly weapon - firearm) and § 417(a)(2) (exhibition of a firearm in a rude, angry, or
28   threatening manner).
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 1   state governments of what would become the first fourteen states neglected to exercise
 2   any police power over the ownership of guns by members of the body politic . . . . These
 3   limits on colonial and early state regulation of arms ownership outlined a significant zone
 4   of immunity around the private arms of the individual citizen.” 173 It is a conclusion
 5   confirmed by the Supreme Court. “Apart from a few late 19th-century outlier
 6   jurisdictions, American governments simply have not broadly prohibited the public carry
 7   of commonly used firearms for personal defense.”174
 8         There were regional differences, no doubt. 175 As the nation aged, northern states
 9   had virtually no restrictions on guns and none on ammunition while southern states
10   tended to mainly prohibit concealed carrying.176 In short, the State argues that because
11   some states have regulated in some ways the use of some weapons (primarily knives and
12   melee devices), that translates into the State being able to regulate any magazine in any
13   way. That is a non sequitur and in this particular case—a bridge too far.
14              i.   No Prohibitions on Possessing Guns
15         It is remarkable to discover that there were no outright prohibitions on keeping or
16   possessing guns. No laws of any kind. 177 Based on a close review of the State’s law list
17
18
19
     173
         Robert H. Churchill, Forum: Rethinking the Second Amendment, 25 L. & Hist. Rev.
     139, 161 (2007).
20   174
         Bruen, 142 S. Ct. at 2156.
21
     175
         “[T]here were profound regional differences in early America.” Decl. of Saul Cornell,
     Dkt. 118-4 (“Cornell Decl.”) at n.49.
22   176
         Don B. Kates, Jr., Restricting Handguns 12 (North River Press ed., 1979), found in
23   Compendium Works Cited in Decl. of Randolph Roth, Dkt. 118-8, at n.53 and 0349 (“By
     1850, every Western state barred the carrying of concealed weapons. In contrast, none of
24   the Northeastern states adopted even that mild a restriction until nearly the turn of the
25   twentieth century. Until 1924, for instance, the only gun law in New Jersey was the
     prohibition of dueling.”).
26   177
         According to one scholar, the first prohibition on simple ownership of a gun came in
27   1911. Churchill, supra, at 139 n.61 (“The first law restraining gun ownership by citizens
     mentioned in the secondary literature is New York’s 1911 Sullivan Law, which
28   prohibited the ownership of concealable arms without a police permit.”); see also David
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 1   and the Court’s own analysis, Plaintiffs are correct in asserting that there are no
 2   Founding-era categorical bans on firearms in this nation’s history. Though it is the
 3   State’s burden, even after having been offered plenty of opportunity to do so, the State
 4   has not identified any law, anywhere, at any time, between 1791 and 1868 that prohibited
 5   simple possession of a gun or its magazine or any container of ammunition (unless the
 6   possessor was an African-American or a slave or a mulatto).178
 7         Surely, with 315 other entries in the State’s law list, there must be many other laws
 8   in the relevant time period of demonstrating a tradition of firearm regulation analogous to
 9   the large capacity magazine ban. What else is there?
10              ii.   No Gun Laws In The Northern States For 50 Years
11         From the adoption of the Second Amendment through the next 50 years, there
12   were no firearm restrictions in any states north of the Mason-Dixon Line.179 One could
13
14
15   B. Kopel and Joseph G.S. Greenlee, This History of Bans on Types of Arms Before 1900
     50 J. of Legis., Apr. 25, 2023, at 45–46 (2024), https://ssrn.com/abstract=4393197
16   [https://perma.cc/P85U-ASTZ] (“Before, during, and after the Revolution, no state
17   banned any type of arm, ammunition, or accessory. Nor did the Continental Congress,
     the Articles of Confederation Congress, or the federal government created by the U.S.
18   Constitution in 1787 . . . . There is no evidence that any of the Founders were concerned
19   about individuals having too much firepower. After a long, grueling war against the
     world’s strongest military, limiting individuals’ capabilities was not a concern.”).
20   178
         Even before Bruen was decided, at least one other judge has applied the text, history,
21   and tradition test with analogical reasoning for a 10-round magazine ban, and came to the
     same conclusion. See Ass’n of N.J. Rifle & Pistol Clubs Inc. v. AG N.J., 974 F.3d 237,
22   258 (3d Cir. 2020) (Matey, J. dissenting) (“This history reveals a long gap between the
23   development and commercial distribution of magazines, on the one hand, and limiting
     regulations, on the other hand. . . . Some will argue there must be an outer boundary to
24   this analysis that, when crossed, renders a magazine dangerous and unusual. If so, it does
25   not appear in the history and traditions of our Nation. . . . As a result, and limited to this
     record, I would hold that magazines are arms protected by the Second Amendment and
26   an act limiting magazine capacity to 10 rounds burdens the Appellants’ Second
27   Amendment rights.”).
     179
         The Mason-Dixon Line established the boundary line between Pennsylvania and
28   Maryland. Beyond its importance as a literal boundary between states, “the Mason-
                                                   50
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 1   live in any of the northern states without restrictions of almost any kind. 180 A gun owner
 2   enjoyed freedom with no infringing prohibitions from 1789 to 1845 in Pennsylvania,
 3   New York, Connecticut, Massachusetts, New Hampshire, Rhode Island, Vermont, Maine,
 4   Ohio, Illinois, Michigan, or Indiana. One might never be subject to a later surety statute
 5   in Massachusetts (1836) [29] and Maine (1841) [46].181 If anything, regulations were not
 6   about what kind of firearm one was not allowed to keep, but about the kind of firearm
 7   one was required to buy and have ready for militia duties.
 8         The same was largely true south of the Mason-Dixon Line (disregarding laws
 9   targeting slaves and Indians, neither of which were considered to be citizens by
10   lawmakers). A citizen could reside in any of the northern states and half of the southern
11   states for the first fifty years free from state government firearm restrictions. This
12
13
     Dixon Line has become known as the boundary between the North and the South. It took
14   on that association on March 1, 1790, when the Pennsylvania Assembly passed
15   legislation ending slavery in the state. Thus, the Mason-Dixon Line became the legal and
     the philosophical boundary between slave territory and free land, since slavery was still
16   allowed in Maryland. That was especially true after the Missouri Compromise was
17   passed in 1820, which prohibited slavery north of the Mason-Dixon Line. To the many
     slaves who used whatever means necessary to reach free land, the Mason-Dixon Line
18   became important to their freedom. For the slaves located in Maryland, they only needed
19   to get to the state line to secure their freedom, although many continued traveling north in
     an attempt to get as far away from their former masters as possible.” Kathryn DeVan,
20   Our Most Famous Border: The Mason-Dixon Line, Pa. St. Univ. (fall 2008),
21   https://pabook.libraries.psu.edu/literary-cultural-heritage-map-pa/feature-articles/our-
     most-famous-border-mason-dixon-line [https://perma.cc/B6WN-DHAC].
22   180
         The State lists one New Jersey statute from 1799 as a law purportedly prohibiting the
23   carrying of a pistol with the intent to assault [19], but this appears to be a sentencing
     enhancement statute applicable only if one was apprehended for burglary. See An Act to
24   Describe, Apprehend and Punish Disorderly Persons (1799), Duke Ctr. For Firearms L.,
25   Charles Nettleton, Laws of the State of New-Jersey Page 474, Image 501 (1821)
     available at The Making of Modern Law: Primary Sources,
26   https://firearmslaw.duke.edu/laws/charles-nettleton-laws-of-the-state-of-new-jersey-page-
27   474-image-501-1821-available-at-the-making-of-modern-law-primary-sources/.
     181
         That the two states would share similar laws makes sense since Maine was part of the
28   larger Commonwealth of Massachusetts prior to achieving statehood in 1820.
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 1   understanding is based on a methodical reading and assessment of the laws set out in the
 2   State’s survey. While the parties’ experts express some disagreements, their contrary
 3   opinions are unpersuasive.
 4         In the northern states there were hardly any firearm laws at all, let alone a tradition
 5   of criminalizing the act of keeping or carrying any firearm. For the District of Columbia,
 6   governed by Congress, there were no firearm laws for the first 80 years until a concealed
 7   carry prohibition was enacted in 1871. [97]. Maine enacted its first law, a gunpowder
 8   storage regulation to prevent fires, in 1821. [27]. Massachusetts enacted its first firearm
 9   statute in 1836 as a surety law [29] with Maine following suit in 1841. [46]. Bruen
10   already notes that under the surety laws everyone started out with robust carrying rights
11   and Bruen saw little evidence that the laws were enforced.
12         Illinois was admitted to the Union in 1818. In 1845, Illinois enacted its first
13   firearm statute criminalizing carrying a gun with the intent to assault another person.
14   [49]. Indiana became a state in 1816. In 1855, Indiana criminalized shooting a gun, or
15   throwing stones or sticks, at a train. [62]. The law did not concern keeping any gun
16   whatsoever, or carrying a gun anywhere, in any manner whatsoever.182 Ohio became a
17   state in 1808. The State’s law list shows no Ohio state laws respecting firearms until
18   1859. [70]. Ohioans did not have a gun law until nearly 70 years after the adoption of
19   the Second Amendment. Its first gun law was one that prohibited carrying a pistol, bowie
20   knife, dirk, or other dangerous weapon concealed. California enacted its first gun
21   regulation in 1853, which criminalized the act of having “upon him any pistol, gun, knife,
22
23
     182
        The State’s law list erroneously describes the 1855 Indiana law as one prohibiting the
24   carrying of a pistol with the intent to injure another. This appears to be a scrivener’s
25   error. Although the State does not include it in its law list, Indiana may have enacted an
     earlier statute prohibiting carrying a pistol concealed, with an exception made for
26   travelers. “In State v. Mitchell, 3 Blackf. 229, 1833 WL 2617 (Ind. 1833), the Supreme
27   Court of Indiana, in a one-sentence opinion, upheld a state statute prohibiting the general
     public from carrying concealed weapons.” Peruta v. Cnty. of San Diego, 824 F.3d 919,
28   933 (9th Cir. 2016).
                                                  52
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 1   dirk, bludgeon, or other offensive weapon, with intent to assault any person.” [57].
 2         In short, the history and tradition of the northern states, states north of the Mason-
 3   Dixon Line, was to leave firearm ownership and use completely unregulated. From the
 4   time of the adoption of the Second Amendment to the time of the adoption of the
 5   Fourteenth Amendment, there were no state gun laws in Pennsylvania, New York,
 6   Connecticut, Rhode Island, Vermont, New Hampshire, Michigan, Wisconsin, Minnesota,
 7   Iowa, Nebraska, Kansas, Missouri, or the District of Columbia. In Massachusetts and
 8   Maine there were only surety statutes. In New Jersey there was a sentencing
 9   enhancement for carrying a pistol while committing a burglary. In this half of the nation,
10   keeping and bearing firearms was done freely without government interference.
11             iii.   No Gun Laws In The Southern States For 50 Years
12         South of the Mason-Dixon Line, where slavery was practiced, there were many
13   laws restricting firearms for slaves, African-Americans, and Indians. Setting aside that
14   obviously unconstitutional tradition, among the southern states firearm ownership was
15   largely unregulated for at least the first 50 years after 1791. Like the northern states,
16   from 1791 to 1868 there were no state gun laws in Delaware, North Carolina, South
17   Carolina, Mississippi, Florida, West Virginia, and Texas, according to the State’s law list.
18         The few laws in other southern states that did exist concerned mainly: (1) carrying
19   a pistol with the intent to assault another; and (2) carrying a pistol in a concealed
20   manner. Tennessee enacted the first firearm regulation in the southern states in 1801 in
21   the form of a surety law— it was a law dismissed by Bruen. [20]. A decade later in
22   1811, Maryland passed the second firearm regulation in the south. [23]. The Maryland
23   law was, not a prohibition, but a sentencing enhancement for carrying a pistol with the
24   intent to assault another.
25         In 1813, Louisiana passed the first law prohibiting the carrying of a concealed gun.
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 1   [24]. 183 Bruen noticed that a Louisiana court found the prohibition on concealed carrying
 2   constitutional only because it permitted open carrying of a firearm. 184 Kentucky passed a
 3   prohibition on carrying a concealed pistol that year, although it is omitted from the
 4   State’s law list. Perhaps it is omitted because Kentucky’s concealed carry law was struck
 5   down as unconstitutional a short time later. The only other firearm regulation in the
 6   south during this time period was Georgia’s 1816 law prohibiting the carrying of a pistol
 7   with intent to assault another person. [25].
 8         Around 50 years after the Second Amendment, four southern states passed their
 9   own first firearm regulations, also in the form of concealed carry prohibitions. In 1837,
10   Arkansas banned carrying a pistol concealed unless on a journey. [32]. In 1837, Georgia
11   added its own prohibition on carrying a pistol concealed. [33]. The constitutionality of
12   the Georgia law was upheld because open carry was unregulated. 185 In 1838, Virginia
13   prohibited carrying a pistol concealed. [40]. In 1839, Alabama prohibited carrying a
14   firearm concealed [41], later adding exceptions for self-defense and for travelers. [45]. 186
15         Three more regulations were enacted in the south in the years leading up to the
16   Fourteenth Amendment’s adoption. In 1856, Tennessee passed a law affecting only
17   minors. [65]. In 1868, Florida prohibited carrying secretly “arms of any kind whatever”
18
19
20   183
         Louisiana reenacted similar, if not the same, statutes two more times, in 1842 and
21   again in 1855. [63].
     184
         142 S. Ct. at 2146 and n.19 (quoting State v. Chandler, 5 La. 489, 490 (1850)
22   (“Louisiana concealed-carry prohibition ‘interfered with no man’s right to carry arms (to
23   use its words) “in full open view,” which places men upon an equality’”)).
     185
         Nunn v. State, 1 Ga. 243, 251 (1846) (“We are of the opinion, then, that so far as the
24   act of 1837 seeks to suppress the practice of carrying certain weapons secretly, that it is
25   valid, inasmuch as it does not deprive the citizen of his natural right of self-defence, or of
     his constitutional right to keep and bear arms. But that so much of it, as contains a
26   prohibition against bearing arms openly, is in conflict with the Constitution, and void.”).
27
     186
         Lockett v. State, 47 Ala. 42, 45–46 (1872) (“Nor is it required that he should have any
     necessity for the use of his pistols. It is enough if he was traveling on a journey, long or
28   short.”).
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 1   and the outright carrying of a pistol or other arm or weapon. [90]. The Florida law was
 2   not scrutinized in a published court decision.187
 3         Significantly, the first restriction on a dangerous and unusual firearm did not occur
 4   until 1868, the year the Fourteenth Amendment was adopted. That year, Alabama
 5   prohibited carrying a rifle walking cane. [87]. A rifle walking cane was a single shot
 6   rifle disguised to appear as a walking cane with a variety of handles. When fired, one
 7   bullet would exit through the bottom of the cane. It was patented in 1858 and
 8   manufactured by the E. Remington & Sons company until approximately 1888, with less
 9   than 2,000 produced.188 Remington was the only major gun maker to produce a rifle
10   walking cane gun. California currently has a law prohibiting possession of a “cane gun.”
11   See Cal. Penal Code § 24410.
12         In short, the history and tradition of the states south of the Mason-Dixon Line, was
13   to leave firearm ownership and use mostly unregulated. At least for the first half of the
14   century, in this half of the nation, keeping and bearing firearms was done freely, with a
15   handful of states enacting prohibitions on carrying pistols in public in a concealed
16   manner, and Maryland and Georgia making it a crime to carry a firearm with the intent to
17   assault another person.
18
19
     187
         However, an 1867 court decision considered an earlier law where only concealed
20   carrying was prohibited. See Sutton v. State, 12 Fla. 135, 136 (1867) (“The statute under
21   which this indictment was found provides, ‘that hereafter it shall not be lawful for any
     person in this State to carry arms of any kind secretly on or about their person, &c.:
22   Provided, that this law shall not be so construed as to prevent any person from carrying
23   arms openly outside of all their clothes’ . . . . The statute was not intended to infringe
     upon the rights of any citizen to bear arms for the ‘common defense.’ It merely directs
24   how they shall be carried, and prevents individuals from carrying concealed weapons of a
25   dangerous and deadly character, on or about the person, for the purpose of committing
     some malicious crime, or of taking some undue advantage over an unsuspecting
26   adversary.”).
27
     188
         See Remington Soc’y of Am., Remington Cane Guns,
     https://www.remingtonsociety.org/remington-cane-guns/ [https://perma.cc/A74W-EHPT]
28   (last visited May 26, 2023).
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 1             iv.    Territories
 2         Among the State’s law list is a number of regulations from 19th century territories.
 3   Bruen has already considered such laws and decided they are not particularly helpful for
 4   several reasons. “First, the bare existence of these localized restrictions cannot overcome
 5   the overwhelming evidence of an otherwise enduring American tradition . . . .” 189 “These
 6   territorial ‘legislative improvisations,’ which conflict with the Nation’s earlier approach
 7   to firearm regulation, are most unlikely to reflect ‘the origins and continuing significance
 8   of the Second Amendment’ and we do not consider them ‘instructive.’”190 “Second,
 9   because these territorial laws were rarely subject to judicial scrutiny, we do not know the
10   basis of their perceived legality . . . . we fail to see how they inform ‘the origins and
11   continuing significance of the Amendment.’” 191 “Finally, these territorial restrictions
12   deserve little weight because they were—consistent with the transitory nature of
13   territorial government—short lived . . . . Thus, they appear more as passing regulatory
14   efforts by not-yet-mature jurisdictions on the way to statehood, rather than part of an
15   enduring American tradition of state regulation.” 192 One commentator disagrees.193
16   Even so, the territorial regulations suggest an absence of gun bans during the most
17   important historical period.
18         None of the territorial regulations from 1791 to 1868 prohibited a firearm. There
19   were no prohibitions on owning firearms of any type. There were no prohibitions on
20   keeping a firearm of any type for self-defense, whether in the home or in public. The
21   first territorial regulation came approximately 47 years after the Second Amendment (in
22   1839) and prohibited the carrying of a firearm in a concealed manner in the Florida
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24
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     189
         Bruen, 142 S. Ct. at 2154.
     190
         Id. (quoting Heller, 554 U.S. at 614).
26   191
         Bruen, 142 S. Ct. at 2155 (quoting Heller, 554 U.S. at 592).
27
     192
         Id. (citations omitted).
     193
         See Andrew Willinger, The Territories Under Text, History, and Tradition, 101 Wash.
28   Univ. L. Rev. (2023), https://ssrn.com/abstract=4372185.
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 1   Territory. [42]. In other words, for the first 40 years of the nation’s history, the only
 2   territorial restriction on firearms, was in the Florida territory taken from Spain in 1819.
 3         In 1853, the New Mexico Territory also adopted a concealed carrying prohibition.
 4   [58]. In 1854, the Washington Territory prohibited exhibiting a pistol in a rude, angry, or
 5   threatening manner, reenacting a similar law in 1859. [60, 71]. The Nebraska Territory
 6   made it a crime to carry a pistol with the intent to assault another person in 1858. [68]
 7   The Colorado Territory (in 1862 and again in 1867) and the Montana Territory (in 1864)
 8   restricted the concealed carrying of a pistol in a city, town, or village. [75, 79, 84].
 9   While these territorial laws do evidence some later restrictions on the manner of carrying
10   firearms in some public places, they do not not evidence a history or tradition of
11   prohibiting any firearms of any type.
12              v.   California’s First Concealed Carry Law Was a Failure
13         In 1863, California’s homicide rate reached “catastrophic levels.” 194 With no
14   Second Amendment analogue in the state constitution, California’s solution was to ban
15   carrying concealed weapons. The experiment failed. In 1870, the legislature repealed the
16   law, because it disarmed the good citizen, but the law was not followed by “the vast
17   majority of roughs, fighting men, and predatory characters,”195 and the police were “apt
18   to arrest any quiet citizen” with a concealed weapon. 196
19         B.     Historical Twins
20         Bruen concluded that “[n]one of these historical limitations on the right to bear
21   arms approach New York’s proper-cause requirement because none operated to prevent
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24   194
         Decl. of Randolph Roth, Dkt. 118-8 (“Roth Decl.”), at ¶ 36.
25
     195
         Id. at ¶ 37 and n.84 (citing Clayton E. Cramer and Joseph E. Olson, The Racist
     Origins of California’s Concealed Weapon Permit Law, SSRN (Aug. 12, 2016) (quoting
26   The Carrying of Concealed Weapons, Daily Alta (San Francisco) California, March 13,
27   1869, at 2, and Concealed Deadly Weapons, Sacramento Daily Union, December 16,
     1870, at 2.)).
28   196
         Id.
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 1   law-abiding citizens with ordinary self-defense needs from carrying arms in public for
 2   that purpose.” 197 The same can be said about California’s magazine ban. To paraphrase
 3   the Supreme Court, none of these historical limitations on the right to bear arms approach
 4   California’s complete ban on magazines able to hold more than 10 rounds. None
 5   operated to prevent law-abiding citizens from possessing as much ammunition as they
 6   thought best.
 7            A historical twin is not unimaginable. It could have been the case that the early
 8   states prohibited having large capacity gunpowder sacks, or, they might have prohibited
 9   carrying more than 10 lead bullets. There were no such restrictions. There are no
10   Founding-era dead ringers or historical twins. Of course, the State does not need to find a
11   historical twin, but a second cousin twice-removed, is not enough.
12   V.       ANALOGUES
13            Although the State does not identify any historical twins of its restrictions on
14   magazines, it may not have to. A history and tradition of a relevantly similar firearm
15   regulation could suffice. After all, it can be argued that removable magazines represent a
16   dramatic change in technology and the State is attempting to address a modern societal
17   concern. In such cases, Bruen allows a more nuanced approach. On one hand, compared
18   to muskets of the colonial era, a Glock 17 with its 17-round magazine clearly represents a
19   dramatic technological advancement. On the other hand, the lever-action repeating
20   Henry and Winchester rifles popular at the time of the Fourteenth Amendment were
21   already dramatic technological advancements in firearms. These popular lever-action
22   rifles had large tubular magazines that held a lot of ammunition and could be fired
23   multiple times in succession, accurately and quickly. Yet, there are no state prohibitions
24   on possession or manufacture of these lever-action rifles in the State’s law list.
25            In any event, while California does not need to identify a dead ringer for its
26
27
28   197
           142 S. Ct. at 2150.
                                                     58
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 1   magazine ban, “California cannot satisfy the requirement for a closely analogous
 2   historical regulation by reference to any general firearm regulation California might
 3   unearth.”198
 4         A.       The State’s Best Historic Analogue? A New York City Gunpowder
 5                  Storage Law Following the Worst City Fire in Colonial America
 6         Asked to identify the best historic analogue to its sweeping prohibition on large
 7   capacity magazines, the State identified a New York City gunpowder storage law
 8   following the worst city fire in Colonial America. With the assistance of scholars who
 9   have studied historic laws for years the State identified a 1784 statute regulating the
10   amount of gunpowder that could be stored inside a New York City building.199 Because
11   the State has identified this as its best analogue, it deserves closer consideration.
12         The gunpowder storage law has nothing to do with gun violence. It was a fire
13   safety regulation. Unsurprisingly, the law was enacted after New York City suffered two
14   great fires, one of which is described as, “The most destructive fire in colonial North
15   America.”200 The first fire, in the year 1776, burned much of Manhattan to the ground
16   and destroyed 493 houses in its path. In 1778, a second fire swept through the city and
17   destroyed 54 more houses and several warehouses.201 After these two terrible fires the
18   New York State legislature responded with a law for New York City limiting the quantity
19   of gunpowder that a person could store in any one building to 28 pounds. It applied only
20
21
22
23
     198
         Baird, 2023 WL 5763345, at *8.
24   199
         See Defendant’s Response Brief in Response to the Court’s Order Entered on
25   February 7, 2023, Dkt. 143, at 1, identifying 1784 Laws of N.Y. 627, chapter 28.
     200
         New York City Fire Museum, The Great New York Fire of 1776 (Mar. 21, 2023),
26   https://www.nycfiremuseum.org/greatfire1776 [https://perma.cc/A3BW-TQRP].
27
     201
         Richard Howe, Notes on the Great Fires of 1776 and 1778 (2014), The Gotham
     Center for New York City History, https://www.gothamcenter.org/blog/notes-on-the-
28   great-fires-of-1776-and-1778 [https://perma.cc/WJ4V-3QKP].
                                                   59
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 1   to that part of Manhattan from city hall on the south end to one mile north. 202 Gunpowder
 2   was to be stored in fireproof stone jugs or tin canisters holding no more than 7 pounds
 3   each. Reinforcing that the law was enacted to prevent fires, it also required gunpowder
 4   be contained to prevent spills during transport through the streets. 203
 5         There was much the law did not do. It did not limit the total amount of gunpowder
 6   a person could own or use, as long as quantities over 28 pounds were kept in the public
 7   magazine or in additional buildings. It placed no limit on the number of lead bullets a
 8   person could keep or possess. It did not restrict a person from keeping his firearms
 9   loaded with gunpowder and bullets in his home, business, or when in public. Beyond the
10   one mile stretch of lower Manhattan island, the law had no application anywhere else in
11   the state. And 28 pounds is a lot of gunpowder. One New York militia soldier was
12   required to bring ¼ pound of gunpowder when called to muster. 204 So, 28 pounds of
13   gunpowder could outfit 112 militia men. As the State’s expert Professor Cornell notes,
14   “Twenty to thirty pounds of gunpowder is certainly not an inconsiderable amount.”205
15
16
17
     202
         “[I]t shall not be lawful . . . to have or keep any quantity of gun powder exceeding
     twenty-eight pounds weight, in any one place, less than one mile to the northward of the
18   city hall . . . except in the public magazine at the Fresh-water . . . .”
19
     203
         The law specified, “[a]nd in order to prevent any fatal consequences which may arise,
     from the carriage of gun powder, in and through the streets of the city of new York, by
20   carts, carriages, or by hand, or otherways [sic], it shall be in a tight cask, well headed and
21   hooped, and shall be put into bags or leather-cases, and intirely [sic] covered therewith,
     so as that none be spilt or scattered in the passage thereof . . . .” 1784 Laws of N.Y at
22   628.
23
     204
          See Stats. at Large, New York 1867, Chapter X, Title VII, Article 1, §6, at 287 (eff.
     1835) (penalties for militia men ill-equipped) (“[F]or want of two spare flints and a
24   knapsack, twenty four cartridges, shot-pouch, powder-horn, twenty balls, and a quarter of
25   a pound of powder, twenty five cents each . . . .”),
     https://books.google.com/books/content?id=RkkwAQAAMAAJ&pg=PA287&img=1&z
26   oom=3&hl=en&bul=1&sig=ACfU3U3ooEDz2oBmZb_g3qythhk8S6UJOg&ci=99%2C1
27   02%2C820%2C820&edge=0 [https://perma.cc/KS72-L87G].
     205
         Saul Cornell & Nathan DeNiro, A Well Regulated Right, 73 Fordham L. Rev. 487
28   n.173 (2004).
                                                   60
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 1         For nuanced analogues, the New York City gunpowder storage law fails the why
 2   and how tests. 206 The “why” of the large capacity magazine ban is to introduce a “critical
 3   pause” into a mass shooter’s unrelenting attack. The “why” of the historic gunpowder
 4   storage law is to reduce the risk of building fires. The “how” of the large capacity
 5   magazine ban is limiting the number of ammunition rounds that can be loaded in a gun
 6   for self-defense. The “how” of the historic gunpowder storage law burden was
 7   generously limiting the storage (and not the amount loaded into guns for self-defense) of
 8   gunpowder for a geographic area smaller than one square mile. In the end, the State’s
 9   proposed analogue is not relevantly similar.
10         One other gunpowder storage law mentioned by the State which applied only in the
11   city of Boston, Massachusetts, fares no better. This was also a fire safety regulation—
12   nothing more. 207 “The ordinance did not prohibit carrying loaded firearms within the
13   City of Boston—only leaving them unattended in a building—and . . . this law was for
14   the protection of those fighting fires.”208 In fact, one scholar mused, “Strictly speaking,
15   the law did not forbid bringing an unloaded gun into a building, and then loading it when
16   inside. So, occupants of homes or businesses remained free to keep loaded guns.” 209
17   Moreover, the State offers no evidence that the Massachusetts law was enforced. A
18   search of Thacher’s Reports, a collection of reports of criminal cases tried in the City of
19   Boston Municipal Court from 1823–1843 reveals no such prosecutions. 210
20
21
     206
         Courts should examine “how and why the regulations burden a law-abiding citizens’
22   right to armed self-defense.” Bruen, 142 S. Ct. at 2132-33.
23
     207
         See Renna, 20-cv-2190-DMS-DEB, 2023 WL 2846937, *12–13 (citing Jackson v.
     City & Cnty. of San Francisco, 746 F.3d 953, 963 (9th Cir. 2014) (stating “Boston’s
24   firearm-and-gunpowder storage law is historically distinct from the challenged firearm
25   regulation in light of Heller”).
     208
         Clayton E. Cramer and Joseph Edward Olson, Pistols, Crime, and Public: Safety in
26   Early America, 44 Willamette L. Rev. 699, 705 (2008) (emphasis in original).
     209
27       Id.
     210
         Thacher’s Reports may be found at https://www.mass.gov/info-details/historical-
28   massachusetts-cases#1800-1899-.
                                                    61
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 1            This whole gunpowder storage argument has been raised before and it has been
 2   rejected before. It was raised a dissent in Heller and relied on the same laws of New
 3   York and Massachusetts, and the same writings of Cornell. 211 The Heller majority was
 4   unimpressed. Heller says,
 5                  The other laws Justice Breyer cites are gunpowder-storage laws
                    that he concedes did not clearly prohibit loaded weapons, but
 6
                    required only that excess gunpowder be kept in a special
 7                  container or on the top floor of the home. Nothing about those
                    fire-safety laws undermines our analysis; they do not remotely
 8
                    burden the right of self-defense as much as an absolute ban on
 9                  handguns. 212
10
     Applying the same reasoning to this case, the early fire-safety gunpowder storage laws do
11
     not remotely burden the self-defense right as much as an absolute ban on magazines
12
     holding more than 10 rounds.
13
              B.    The State’s Historic Analogue No. 2: Concealed Carry Laws
14
              Next, the State turns to historic laws regulating the concealed carrying of bowie
15
     knives, dirks, sword canes, and some pistols, as analogues.
16
                   i.   Pocket Pistols
17
              Some historic laws prohibited carrying a pocket pistol in a concealed manner. By
18
     1868, about a dozen states had laws prohibiting carrying concealed pistols. Importantly,
19
     the concealed carry laws did not prohibit either keeping pistols for all lawful purposes or
20
     carrying all guns openly. And none included long guns or ammunition containers in their
21
     restrictions. Pocket pistols were entirely lawful to keep and use at home for self-defense.
22
              Prohibiting the concealed carrying of a pistol was constitutionally permissible only
23
     when a citizen could freely keep and carry the same gun openly. The statutes were often
24
     tested in court, suggesting that any broad carrying restriction ran close to the
25
26
27
     211
           Heller, 554 U.S. at 684–86 (Breyer, J., dissenting).
28   212
           Id. at 631–32.
                                                    62
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 1   constitutional line. Today’s large capacity magazine ban prohibits carrying magazines in
 2   any manner -- and even more restrictively prohibits simple possession.
 3         Historic concealed carry laws for pistols have a different “why” and “how” than do
 4   the State’s large capacity magazine ban. The “why” of a concealed carry law was to
 5   prevent unfair surprise attacks by a person who appeared to be unarmed. The “how” of
 6   the historic concealed carry prohibitions was to proscribe the manner of carrying a pocket
 7   pistol and only when in public. The substantial burden imposed by the large capacity
 8   magazine ban is not analogous to the burden created by a concealed carry restriction for
 9   public carrying of a pocket pistol. Such a history and tradition of concealed carry
10   prohibitions are not nuanced analogues for California’s magazine ban as they are not
11   relevantly similar.
12              ii.   Dirks, Daggers, Sword Canes, and Bowie Knives
13         The State now asks the Court to compare firearms equipped with large capacity
14   magazines to knives. Undoubtedly, dirks, daggers, and bowie knives are dangerous. But
15   dirks, daggers, sword canes, and bowie knives were not firearms; they were bladed
16   instruments. Bruen says the state’s burden is to identify a historical firearm regulation,
17   not a knife regulation. In the dissent, knives were cited only where territorial laws also
18   affected the carrying of pistols, presumably because of the pistols.213 Heller did not
19   mention knife laws at all in evaluating the District of Columbia’s handgun ban. And the
20   Supreme Court’s plurality did not mention bowie knives in evaluating Chicago’s
21   handgun ban, except as an example of Reconstruction-era efforts to disarm African-
22   Americans. 214 This is not to say that bowie knives are not “arms” imbued with Second
23
24
25
     213
         Id. at 2186 (Breyer, J. dissenting) (“For example, Georgia made it unlawful to carry,
     ‘unless in an open manner and fully exposed to view, any pistol, (except horseman's
26   pistols,) dirk, sword in a cane, spear, bowie-knife, or any other kind of knives,
27   manufactured and sold for the purpose of offence and defence.’ Ga. Code § 4413
     (1861).”).
28   214
         McDonald, 561 U.S. at 771.
                                                  63
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 1   Amendment protection. 215 Historical knife laws would be relevant in evaluating a modern
 2   prohibition on knives. It is simply to say that historical firearm regulations are obviously
 3   more likely to be relevant analogues for modern firearm restrictions.
 4         Even if knife regulations were relevant, they would not help the State much.216
 5   There were laws restricting bowie knives in some states in the 1800’s, but not the vast
 6   majority of states. There is also little evidence of actual prosecutions for simply
 7
 8
 9
     215
         See, e.g., David B. Kopel, Clayton E. Cramer and Joseph E. Olson, Knives and the
     Second Amendment, 47 U. Mich. J. L. Reform 167, 168 (2013); Defs.’ Compendium of
10   Works, Dkt. 158-2, at 65, 67 (“This Article analyzes Second Amendment protection for
11   the most common ‘arm’ in the United States – the knife.”).
     216
         This opinion is shared by two historians. See David B. Kopel and Joseph G.S.
12   Greenlee, The History of Bans on Types of Arms Before 1900, 50 J. of Legis., Apr. 25,
13   2023, at 168–69 (2024), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4393197
     [https://perma.cc/P85U-ASTZ] (“Bans on modern rifles and magazines cannot be rescued
14   by diverting attention away from the legal history of firearms law, and instead pointing to
15   laws about other arms. Dozens of state and territorial legislatures enacted laws about
     Bowie knives, as well as dirks and daggers. Prohibitory laws for these blades are fewer
16   than the number of bans on carrying handguns, and Bruen found the handgun laws
17   insufficient to establish a tradition constricting the Second Amendment.
            As for other non-blade impact weapons, the sales and manufacture bans in a
18   minority of states for slungshots and knuckles could be considered as involving arms “not
19   typically possessed by law-abiding citizens for lawful purposes.”
            Other flexible impact arms, most notably blackjacks, were “typically possessed by
20   law-abiding citizens for lawful purposes,” especially by law enforcement officers.
21   Likewise, modern semiautomatic rifles and standard magazines are also highly preferred
     by today’s law enforcement officers.
22          For blackjacks and sand clubs, only one state, New York, enacted a sales and
23   manufacture ban. That came at a time when the legislature was unencumbered by a
     Second Amendment enforceable against the states or by a state constitution right to arms.
24   As Bruen teaches, a lone eccentric state does not create a national legal tradition.
25          For every arm surveyed in this article, the mainstream American legal tradition
     was to limit the mode of carry (no concealed carry), to limit sales to minors (either with
26   bans or requirements for parental permission), and/or to impose extra punishment for use
27   in a crime.
            The fact that most states banned concealed carry of Bowie knives is not a
28   precedent to criminalize the mere possession of modern rifles and magazines.”).
                                                  64
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 1   possessing a bowie knife, much less a judicial opinion on constitutionality. One court
 2   observed that a Tennessee bowie knife law was generally disregarded. 217
 3         The argument that a cluster of laws prohibiting the carrying of dangerous knives
 4   could justify a gun ban, lost its wind in McDonald. If the regulation of knives was not a
 5   sufficient analogue for restricting handguns in Chicago, neither are regulations of dirks,
 6   daggers, sword canes, and bowie knives useful analogues for prohibiting modern
 7   magazines.
 8         C.     The State’s Historic Analogue No. 3: Guns Set as Traps
 9         Historic laws prohibiting trap guns are proposed as a third analogue by the State.
10   What the State does not admit or seem to recognize is that “trap guns” are not guns at all.
11   They are a method by which a gun, any gun, can be set up to fire indiscriminately
12   through the use of springs, strings, or other atypical triggering mechanism without
13   needing an operator. Nonetheless, absent from our history is a tradition of trap gun
14   restrictions in the important years between the 1791 and 1868. The 1771 New Jersey trap
15   gun law, upon which the State relies, predates the Declaration of Independence, New
16   Jersey statehood,218 and the Second Amendment. Ninety-five years passed before a
17   second restriction on trap gun was enacted and that one applied only to the Utah Territory
18   (1865). [80]. Within the states, the first regulation on setting a trap gun, was enacted in
19   Minnesota in 1873. [109]. Two states followed later in 1875 (Michigan) and 1884
20
21
22   217
         See, e.g., Day v. State, 37 Tenn. 496, 499 (Tenn. 1858) (“It is a matter of surprise that
23   these sections of this act, so severe in their penalties, are so generally disregarded in our
     cities and towns.”) (describing state law prohibiting the concealed carrying of bowie
24   knives) (emphasis added).
25
     218
         New Jersey was one of the few states that did not have in its state constitution a
     provision like the Second Amendment. (Six states do not have provisions protecting a
26   right to arms in their state constitutions: California, New Jersey, New York, Maryland,
27   Minnesota, and Iowa.) See David B. Kopel and Clayton E. Cramer, State Court
     Standards of Review for the Right to Keep and Bear Arms, 50 Santa Clara L. Rev 1113,
28   1145 n.51 (2010).
                                                   65
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 1   (Vermont). In other words, trap guns were not prohibited by law in the District of
 2   Columbia or 36 of the 37 states (then existing), until 1873. California did not enact its
 3   own trap gun law until 1957. 219 Court decisions between 1791 and 1868 recognized that
 4   it was entirely lawful to use trap guns (or spring guns, as they were sometimes called) to
 5   defend one’s property. 220 If this is what a national tradition of trap gun regulation looks
 6   like, it is a strange look, indeed.
 7          Claiming trap guns were “dangerous weapons commonly used for criminal
 8   behavior and not for self-defense,”221 the State has a problem with the facts. There is
 9   little historical evidence that trap guns were used for criminal behavior. Rather, guns
10
11
     219
         See Cal. Fish & Game Code § 2007.
12   220
         See, e.g., Gray v. Combs, 7 J. J. Marsh, 478 (Ky. 1832) (one who sets traps or spring
13   guns to protect valuable property by means of which another is killed while attempting to
     enter the premises is guilty of no crime); Loomis v. Terry, 1837 WL 2808 (N.Y. Sup. Ct.
14   1837) (“It is not like setting spring guns with public notice of the fact; for even that has
15   been held warrantable as being necessary (Ilott v. Wilkes, 3 Barn. & Ald. 304).”); State v.
     Moore, 31 Conn. 479, 479–80 (Conn. 1863) (“Breaking and entering a shop in the night
16   season with intent to steal, is by our law burglary, and the placing of spring guns in such
17   a shop for its defense, would be justified if a burglar should be killed by them.”);
     Maenner v. Carroll, 46 Md. 193, 208 (Md. Ct. App. 1877) (“While it is decided that
18   traps, spring-guns, and other dangerous instruments, may be lawfully placed on private
19   grounds, for the purpose of deterring trespassers or catching strange animals doing
     damage . . . .”); see also Simpson, 59 Ala. at 18 (citing Moore, 31 Conn. at 479) (“The
20   setting a spring-gun on his premises, by the owner, is culpable only because of the intent
21   with which it is done. Unless the public safety is thereby endangered, it is not indictable.
     If dangerous to the public, it is indictable as a nuisance.”); United States v. Gilliam, 25 F.
22   Cas. 1319, 1320 and n.2 (D.C. Crim. Ct. 1882) (“The setting of a spring-gun as a
23   protection for property, though not in itself unlawful and indictable, is certainly
     undeserving of encouragement. . . .”) (citing English common law and the court of King’s
24   Bench, Ilott v. Wilkes, 3 Barn. & Ald. 304 (‘A trespasser, having knowledge that there are
25   spring-guns in a wood, although he may be ignorant of the particular spots where they are
     placed, cannot maintain an action for an injury received in consequence of his accidental
26   treading on the latent wire connecting with the gun, and thereby letting it off.’)).
27
     221
         Defs’ Br. in Resp., Dkt. 145, at 10 (quoting Oregon Firearms Fed’n, Inc. v. Brown,
     No. 2:22-cv-01815-IM, 2022 WL 17454829, at *13 (D. Or. Dec. 6, 2022), appeal
28   dismissed, No. 22-36011, 2022 WL 18956023 (9th Cir. Dec. 12, 2022)).
                                                   66
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 1   were set as traps by common people to protect their property from thieves and sometimes
 2   for self-defense against burglars. Perhaps just as often trap guns were used to hunt game.
 3   Historian and expert witness for the State, Robert Spitzer opines about trap guns: (1)
 4   “[t]hose who set gun traps typically did so to defend their places of business, properties,
 5   or possessions;” and (2) “opinion was more divided . . . with some arguing that thieves or
 6   criminals hurt or killed by the devices had it coming.”222 So, when the State claims trap
 7   guns were used by criminals and not for self-defense, it gets the facts backwards. The
 8   how and why of the two types of regulations are not relevantly similar, thus trap gun laws
 9   are not useful analogues for prohibiting modern magazines.
10         D.     The Best Analogue: Laws Requiring Citizens to Keep and Carry
11                Sufficient Bullets and Gunpowder for Service in the Militia
12         California ignores Founding-era laws that present the best analogue to its present-
13   day magazine law. These are the manifold early militia laws requiring each citizen, not
14   to limit the amount of ammunition he could keep, but to arm himself with enough
15   ammunition: at least 20 rounds. 223
16         Government remains fixed on the notion that it alone can decide that anything
17   larger than a 10-round magazine is not “suitable” for a citizen to have. But, there are no
18   analogous cases in our history. There are no cases where American government dictated
19   that lever-action rifles were unsuitable because single shot rifles were good enough, or
20
21
22
23
     222
        (U.S.D.C. Oregon Dkt. 17-2 at ¶¶ 34–53) (first filed in the instant case).
     223
        See, e.g., 1784 Mass. Acts 142; 1786 N. Y. Laws 228; 1785 Va. Statutes at Large 12
24   (12 Hening c. 1); 1 Stat. 271 (1792) (Militia Act); Herbert L. Osgood, The American
25   Colonies in the Seventeenth Century, 499–500 (1904) (explaining that states often
     required citizens to equip themselves with adequate firearms and ammunition, including
26   between 20 and 24 cartridges at minimum); Silveira v. Lockyer, 328 F.3d 567, 586 (9th
27   Cir. 2003) (“Much as building codes today require smoke detectors in the home, a man
     had to have a bullet mould, a pound of powder, four pounds of lead, and twenty bullets, to
28   be produced when called for by a militia officer.”) (Kleinfeld, J., dissenting).
                                                  67
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 1   revolvers were unsuitable because derringers were good enough.224 These choices have
 2   always belonged to the People to decide for themselves how much firepower they need.
 3         The right to have firearms for social security was important at the time the
 4   Constitution was adopted. There were many enemies of the young nation. An armed
 5   citizenry provided a much-needed deterrent effect. Early citizens remembered how the
 6   Minutemen of Lexington and Concord, Massachusetts, by assembling as a militia, fought
 7   back against the hostile British march to take away guns and gunpowder in April 1776.
 8         During the Nation’s founding-era, federal and state governments enacted laws for
 9   the formation and maintenance of citizen militias. Three such statutes are described in
10   Miller.225 Rather than restricting too much firing capacity, the laws mandated a
11   minimum firing capacity. These statutes required citizens to arm themselves with arms
12   and a minimum quantity of bullets and gunpowder, not to disarm themselves. When
13   Congress passed the Militia Act in 1792,226 the law required a citizen to be equipped to
14   fire at least 20 to 24 shots. 227 A 1786 New York law required “no less than Twenty-four
15   Cartridges,” and a 1785 Virginia law required a cartridge box and “four pounds of lead,
16
17
18   224
         “I surveyed the gun regulations in the Duke Historical Database from the early
19   medieval period through 1885 to see what terminology was used. None of the laws that
     prohibit weapons, aside from the Maryland statute above, specifies a gun part or
20   ammunition case or accoutrements of any kind. Although many present a list of banned
21   or prohibited weapons – usually without defining them [the assumption is that the reader
     knows what they refer to], none of the laws mention cartridge boxes, bullets, barrels, or
22   other parts of any weapons.” Declaration of Dennis Baron, Dkt. 118-2, at ¶ 56.
23
     225
         307 U.S. 174 (1939)
     226
         1 Stat. 271, 2 Cong. Ch. 33.
24   227
         “That every citizen so enrolled and notified, shall, within six months thereafter,
25   provide himself with a good musket or firelock, a sufficient bayonet and belt, two spare
     flints, and a knapsack, a pouch with a box therein to contain not less than twenty-four
26   cartridges, suited to the bore of his musket or firelock, each cartridge to contain a proper
27   quantity of powder and ball: or with a good rifle, knapsack, shot-pouch and powder-horn,
     twenty balls suited to the bore of his rifle and a quarter of a pound of powder.”
28   (Emphasis added).
                                                  68
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 1   including twenty blind cartridges.” In 1776, Paul Revere’s Minutemen were required to
 2   have 30 bullets and gunpowder.
 3         These and other citizen militia laws demonstrate that, contrary to the idea of a
 4   firing-capacity upper limit on the number of rounds permitted, there was a legal
 5   obligation for the average citizen to have at least 20 rounds available for immediate
 6   use.228 There were no upper limits like § 32310; there were floors and the floors were
 7   well above 10 rounds. 229 California’s large capacity magazine ban is a diametrically
 8   opposed analogue.
 9         As one court explained, “[u]nder Bruen, the Second Amendment does not ‘forbid
10   all laws other than those that actually existed at or around the time of the Second
11   Amendment’s adoption,’ but rather ‘the Second Amendment must, at most, forbid laws
12   that could not have existed under the understanding of the right to bear arms that
13   prevailed at the time.’” 230 California’s large capacity magazine ban did not exist and
14   could not have existed under the understanding of the Second Amendment at the time of
15   the Founding. This is clear because militia laws of the federal and state governments
16   required citizens to keep and carry more ammunition supplies than 10 rounds. A
17   prohibition like § 32310 would have been impossible to enforce and runs contrary to
18   legal commands for militia readiness.
19   VI.   CONCLUSION
20         Removable firearm magazines of all sizes are necessary components of
21   semiautomatic firearms. Therefore, magazines come within the text of the constitutional
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24   228
         Teixeira v. Cty. Of Alameda, 873 F.3d 670, 685 (9th Cir. 2017) (citing Joyce Lee
25   Malcolm, To Keep and Bear Arms 139 (1994)) (“the colonial militia played a primarily
     defensive role . . . . The dangers all the colonies faced . . . were so great that not only
26   militia members but all householders were ordered to be armed.”).
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         Duncan, 366 F. Supp. at 1150.
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         Def’s Br. in Resp., Dkt. 142 at 16 (quoting United States v. Kelly, No. 3:22-cr-00037,
28   2022 U.S. Dist. LEXIS 215189, at *14 n.7 (M.D. Tenn. Nov. 16, 2022)).
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 1   declaration that the right to keep and bear arms shall not be infringed. Because millions
 2   of removable firearm magazines able to hold between 10 and 30 rounds are commonly
 3   owned by law-abiding citizens for lawful purposes, including self-defense, and because
 4   they are reasonably related to service in the militia, the magazines are presumptively
 5   within the protection of the Second Amendment. There is no American history or
 6   tradition of regulating firearms based on the number of rounds they can shoot, or of
 7   regulating the amount of ammunition that can be kept and carried. The best analogue that
 8   can be drawn from historical gun laws are the early militia equipment regulations that
 9   required all able-bodied citizens to equip themselves with a gun and a minimum amount
10   of ammunition in excess of 10 rounds.
11         Because the State did not succeed in justifying its sweeping ban and dispossession
12   mandate with a relevantly similar historical analogue, California Penal Code § 32310, as
13   amended by Proposition 63, is hereby declared to be unconstitutional in its entirety and
14   shall be enjoined. At this time, the Court’s declaration does not reach the definition of a
15   large capacity magazine in California Penal Code § 16740 where it is used in other parts
16   of the Penal Code to define other gun-related crimes or enhance criminal penalties.
17         One government solution to a few mad men with guns is a law that makes into
18   criminals responsible, law-abiding people wanting larger magazines simply to protect
19   themselves. The history and tradition of the Second Amendment clearly supports state
20   laws against the use or misuse of firearms with unlawful intent, but not the disarmament
21   of the law-abiding citizen. That kind of a solution is an infringement on the
22   Constitutional right of citizens to keep and bear arms. The adoption of the Second
23   Amendment was a freedom calculus decided long ago by our first citizens who cherished
24   individual freedom with its risks more than the subservient security of a British ruler or
25   the smothering safety of domestic lawmakers. The freedom they fought for was worth
26   fighting for then, and that freedom is entitled to be preserved still.
27         The Attorney General respectfully requests a stay of any judgment in Plaintiffs’
28   favor for a sufficient period to seek a stay from the Court of Appeals. Dkt. 118 at 61–63;
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 1   Dkt. 142 at 25. That request is granted. Therefore, the enforcement of the injunction is
 2   hereby stayed for ten days.
 3   IT IS HEREBY ORDERED that:
 4         1. Defendant Attorney General Rob Bonta, and his officers, agents, servants,
 5   employees, and attorneys, and those persons in active concert or participation with him,
 6   and those duly sworn state peace officers and federal law enforcement officers who gain
 7   knowledge of this injunction order, or know of the existence of this injunction order, are
 8   enjoined from enforcing California Penal Code § 32310.
 9         2. Defendant Rob Bonta shall provide, by personal service or otherwise, actual
10   notice of this order to all law enforcement personnel who are responsible for
11   implementing or enforcing the enjoined statute.
12         3. This injunction is stayed for ten (10) days from the date of this Order.
13   IT IS SO ORDERED.
14         Date: September 22, 2023         __________________________________
15                                               HON. ROGER T. BENITEZ
                                                 United States District Judge
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